Exhibit 1
     SME Artist                                 SME Track                                         Social Media Account           Content URL

1    *NSYNC                                     It's Gonna Be Me                                  ritzcarltonkapalua             https://www.instagram.com/stories/ritzcarltonkapalua/3358188570370875526/
                                                                                                                                 https://scontent-lga3-
2    *NSYNC                                     Kiss Me at Midnight                               moxynooga                      2.cdninstagram.com/o1/v/t16/f1/m78/6F44C33A854AB5E60A43C0F5EDB1679A_video_dashinit.mp

3    21 Savage, Offset, Metro Boomin            Ric Flair Drip (With Metro Boomin)                wscottsdale                    https://www.instagram.com/reel/C3vXT-6PPjL/

4    99 Souls                                   The Girl Is Mine feat. Destiny's Child & Brandy   gaylordtexan                   https://www.instagram.com/stories/highlights/18005184937779713/

5    99 Souls                                   The Girl Is Mine feat. Destiny's Child & Brandy   wmiamihotel                    http://www.instagram.com/p/CtW-4ElAWlj

6    99 Souls                                   The Girl Is Mine feat. Destiny's Child & Brandy   westinstfr                     http://www.instagram.com/p/CtkYpd5szbm

7    A Tribe Called Quest                       Electric Relaxation                               gaylordnational                https://www.instagram.com/stories/highlights/17910346244376301/

8    A$AP Ferg                                  Plain Jane                                        waspenhotel                    http://www.facebook.com/waspenhotel/videos/775077826255535/

9    A$AP Rocky                                 A$AP Forever                                      ritzcarltonsouthbeach          https://www.instagram.com/stories/highlights/18200365687123587/

10   A$AP Rocky                                 Everyday (ft. Rod Stewart x Miguel x Mark Ronson) phoenicianscottsdale           https://www.instagram.com/reel/C5Wiww2y3c6/

11   A.R. Rahman                                Jashn-E-Bahaaraa                                  rendallashotel                 https://www.instagram.com/stories/highlights/18015877606712690/

12   Aaron Smith                                Dancin (Krono Remix)                              themayflowerhoteldc            https://www.instagram.com/reel/CakmBL1JUE8/

13   Aaron Smith                                Dancin (Krono Remix)                              moxynashvilledowntown          https://www.instagram.com/reel/CofwZkMu3sO/

14   Aaron Smith                                Dancin (Krono Remix)                              thelodgesonoma                 https://www.instagram.com/reel/CtPDrizOKVh/

15   Aaron Smith                                Dancin (Krono Remix)                              gaylordtexan                   https://www.instagram.com/stories/highlights/17951869109758777/

16   Adele                                      Easy On Me                                        nymarriottdowntown             https://www.instagram.com/reel/CZApzkzhCQo/

17   Alexis Ffrench                             Dreamland                                         westinstfr                     https://www.instagram.com/stories/westinstfr/3134456670973666678

18   Alicia Keys                                Empire State of Mind (Part II) Broken Down        newyorkmarriottmarquis         https://www.instagram.com/stories/highlights/17953439989575399/

19   Alicia Keys                                Girl on Fire                                      wboston                        https://www.instagram.com/stories/highlights/17924141204280246/

20   Alicia Keys                                Girl on Fire                                      ritzcarltongeorgetown          https://www.instagram.com/stories/ritzcarltongeorgetown/3078895791724824969

21   Alicia Keys                                You Don't Know My Name                            wfortlauderdale                https://www.instagram.com/reel/C14l0JhOeXC

22   Amerie                                     1 Thing                                           themarquishou                  http://www.instagram.com/p/ChnUwPRDiI4

23   Andrea True Connection                     More, More, More                                  wfortlauderdale                https://www.instagram.com/reel/C557-3HMVWm/

24   Andy Williams                              Happy Holiday / The Holiday Season                gaylordtexan                   https://www.instagram.com/stories/highlights/17895134651725012/

25   Andy Williams                              It's The Most Wonderful Time Of the Year          gaylordnational                https://www.instagram.com/stories/highlights/17975093260435996/

26   Andy Williams                              It's the Most Wonderful Time of the Year          gaylordoprylandresort          http://www.instagram.com/p/CXkPRY5Dn0Z

27   Andy Williams                              It's The Most Wonderful Time Of The Year          anaheimmarriott                http://www.instagram.com/p/CXt9ufwlQBl

28   Andy Williams                              It's The Most Wonderful Time Of the Year          themayflowerhoteldc            https://www.instagram.com/reel/ClEtNy5gSRO/

29   Andy Williams                              It's The Most Wonderful Time Of The Year          wseattle                       http://www.instagram.com/p/ClUKLipLWgI

30   Andy Williams                              It's The Most Wonderful Time Of the Year          westinstfr                     https://www.instagram.com/stories/highlights/17850869638653815/

31   Andy Williams                              It's The Most Wonderful Time Of the Year          sheratongrandseattle           https://www.instagram.com/stories/highlights/18159954424270457/

32   Andy Williams                              It's the Most Wonderful Time of the Year          rentimessquare                 http://www.instagram.com/p/CmZUMETjQlG

33   Andy Williams                              It's the Most Wonderful Time of the Year          gaylordoprylandresort          https://www.instagram.com/stories/highlights/18023948845769324/

34   Andy Williams                              It's the Most Wonderful Time of the Year          gaylordtexan                   https://www.instagram.com/stories/highlights/17895134651725012/

35   Andy Williams                              It's The Most Wonderful Time Of the Year          jwsanantonio                   https://www.instagram.com/stories/highlights/18059943166079910/

36   Andy Williams                              It's The Most Wonderful Time Of the Year          gaylordnational                https://www.instagram.com/stories/highlights/17975093260435996/

37   Andy Williams                              It's The Most Wonderful Time Of The Year          westinstfr                     http://www.instagram.com/p/Cz972XQL4aD

38   Andy Williams                              It's The Most Wonderful Time of The Year          ritzcarltonhmb                 https://www.instagram.com/stories/highlights/18027329719923425/

39   Andy Williams                              It's The Most Wonderful Time Of The Year          SheratonGrandChicago           http://www.facebook.com/SheratonGrandChicago/videos/867289068227602/

40   Andy Williams                              It's The Most Wonderful Time Of the Year          wnashville                     https://www.instagram.com/reel/C0udAYcvJCq/

41   Andy Williams                              It's The Most Wonderful Time Of The Year          ritzcarltonorlando             https://www.instagram.com/stories/ritzcarltonorlando/3257131538806303290

42   Andy Williams                              It's The Most Wonderful Time Of The Year          SheratonLakeBuenaVistaResort   http://www.facebook.com/SheratonLakeBuenaVistaResort/videos/684127943819760/

43   Andy Williams                              It's The Most Wonderful Time Of the Year          westinstfr                     https://www.instagram.com/stories/highlights/18040072210219760/

44   Andy Williams                              It's The Most Wonderful Time of The Year          ritzcarltonkapalua             https://www.instagram.com/stories/highlights/17857399253632174/

45   Andy Williams                              It's the Most Wonderful Time of the Year          westinnashville                https://www.instagram.com/reel/C1BNjZxOrAC/

46   Andy Williams                              It's the Most Wonderful Time of the Year          brooklynmarriott               https://www.instagram.com/reel/C04S6PBqE-i/

47   Andy Williams                              It's the Most Wonderful Time of the Year          algonquinnyc                   https://www.instagram.com/reel/CmW3njOAfJL/

48   Andy Williams                              Let It Snow! Let It Snow! Let It Snow!            gaylordnational                https://www.instagram.com/stories/highlights/17975093260435996/

49   Ari Abdul                                  BABYDOLL (Speed)                                  wfortlauderdale                https://www.instagram.com/reel/C6TlF1nCSRX/

50   Artie Shaw & His Orchestra;Helen Forrest   Deep In A Dream                                   westinstfr                     http://www.instagram.com/p/CsJ4UIJv8Z0

51   Austin Millz & Estelle                     Freeway (with Estelle)                            ritzcarltonsanfrancisco        https://www.instagram.com/stories/ritzcarltonsanfrancisco/3115230786441962125

52   Austin Millz & Sabrina Claudio             Inhale / Exhale (with Sabrina Claudio)            marquis_chicago                https://www.instagram.com/reel/CqIwzhtgrNP/

53   Austin Millz & Sabrina Claudio             Inhale / Exhale (with Sabrina Claudio)            waustin                        http://www.instagram.com/p/CrgqLvIAwNV

54   AVAION                                     Pieces                                            moxytimessquare                https://www.instagram.com/p/CWeLrgWldWI

55   AVAION                                     Pieces                                            whollywood                     http://www.instagram.com/p/CmaM0RKo_oZ




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     SME Artist                    SME Track                                       Social Media Account           Content URL

56   AVAION                        Pieces                                          marquis_chicago                https://www.instagram.com/reel/CnxWia5gyx3/

57   AVAION                        Pieces                                          wlakeshore                     https://www.instagram.com/stories/highlights/17858961373320778/
                                                                                                                  https://scontent-lga3-2.cdninstagram.com/v/t50.12441-
58   Backstreet Boys               I Want It That Way                              ritzcarltonameliaisland        16/261071311_301392175175805_6940612988989350463_n.mp4?efg=eyJxZV9ncm91cHMiOiJbXCJ

59   Bad Bunny                     Chambea                                         whollywood                     https://www.instagram.com/stories/highlights/17952414811970611/

60   Bad Bunny                     MONACO                                          innatthemissionsjc             https://www.instagram.com/stories/highlights/17915623381376925/

61   Bad Bunny                     MONACO                                          stregisresboston               https://www.instagram.com/reel/Cy_lZ4EOTwX/

62   Bad Bunny                     MONACO                                          westinnashville                https://www.instagram.com/reel/Cz6R9BeuydX/

63   Bad Bunny                     MONACO                                          phoenicianscottsdale           https://www.instagram.com/stories/highlights/17992360160235927/

64   Bad Bunny                     MONACO                                          westinstfr                     https://www.instagram.com/stories/highlights/18040072210219760/

65   Bad Bunny                     MONACO                                          ritzcarltonorlando             https://www.instagram.com/stories/highlights/18317281615140454/

66   Bad Bunny                     MONACO                                          waikoloabeachmarriott          https://www.instagram.com/stories/highlights/17852002654280002/

67   Bad Bunny                     MONACO                                          gaylordnational                https://www.instagram.com/reel/C6jULKBOAOG/

68   Bad Bunny                     MONACO                                          wphiladelphia                  https://www.instagram.com/stories/wphiladelphia/3362556688090176791/

69   Bad Bunny                     Titi Me Pregunto                                westingalleriahouston          https://www.instagram.com/reel/CgxROvhplCX/

70   Bad Bunny                     Titi Me Pregunto                                wfortlauderdale                https://www.instagram.com/reel/CjqLbzBABJy

71   Bad Bunny                     Un Ratito                                       wminneapolis                   https://www.instagram.com/stories/wminneapolis/3368589683258993863/

72   Bad Bunny                     WHERE SHE GOES                                  algonquinnyc                   https://www.instagram.com/reel/CvNRnVYgkdq/

73   Bad Bunny, Rauw Alejandro     Party                                           wboston                        https://www.instagram.com/stories/highlights/18003308467751870/

74   Bad Bunny, Rauw Alejandro     Party                                           laxmarriott                    https://www.instagram.com/stories/highlights/17980781036634415/

75   Badger, Natasha Bedingfield   These Words                                     westinmemorialcity             https://www.instagram.com/reel/C6mfrTgACum/

76   Badger, Natasha Bedingfield   These Words                                     swandolphin                    https://www.instagram.com/stories/swandolphin/

77   Badger, Natasha Bedingfield   These Words                                     moxynashvilledowntown          https://www.instagram.com/reel/C6w2pg4uebR/

78   Badger, Natasha Bedingfield   These Words                                     ritzcarltondallas              https://www.instagram.com/stories/ritzcarltondallas/3366702945581247044/

79   Bakar                         Hell N Back                                     gaylordrockies                 https://www.instagram.com/stories/highlights/17869240172446639/

80   Bakar                         Hell N Back                                     westinbellevue                 https://www.instagram.com/stories/westinbellevue/

81   Bakar                         Hell N Back                                     renchicagodowntown             https://www.instagram.com/stories/renchicagodowntown/

82   Bakar                         Hell N Back (ft. Summer Walker)                 stregisnewyork                 https://www.instagram.com/stories/stregisnewyork/3358372398158045142/

83   Bakar                         Hell N Back (ft. Summer Walker)                 ritzcarltonatlanta             https://www.instagram.com/reel/C5mRAz5A6HB/

84   Bakermat                      Baby                                            ritzcarltonsouthbeach          https://www.instagram.com/stories/highlights/18005155766518725/

85   Bakermat                      Baby                                            wlakeshore                     https://www.instagram.com/stories/wlakeshore/3339637006566974318/

86   Becky G                       Shower                                          ritzcarltonstlouis             https://instagram.com/stories/ritzcarltonstlouis/3362796120831456324/

87   Benny Benassi ft. Gary Go     Cinema                                          jwdesertridge                  http://www.facebook.com/jwdesertridge/videos/1098492647705371/

88   Benny Benassi ft. Gary Go     Cinema                                          sheratondenverdowntown         https://www.instagram.com/reel/C1cYrKeLjwU/

89   Benny Goodman Trio            Someday Sweetheart                              ritzcarltonorlando             https://www.instagram.com/stories/highlights/17972704385624402/

90   Benny Goodman Trio            Someday Sweetheart                              ritzcarltonorlando             https://www.instagram.com/stories/highlights/17972704385624402/

91   Benny Goodman Trio            Someday Sweetheart                              ritzcarltonorlando             https://www.instagram.com/stories/highlights/17972704385624402/

92   Benny Goodman Trio            Someday Sweetheart                              ritzcarltonorlando             https://www.instagram.com/stories/highlights/17972704385624402/

93   Benny Goodman Trio            Where or When                                   gaylordoprylandresort          https://www.instagram.com/stories/gaylordoprylandresort/3120097757663199876
                                                                                                                  https://scontent-lga3-2.cdninstagram.com/v/t50.12441-
94   Betty Who                     I Love You Always Forever                       ritzcarltonbacarasb            16/244372894_4665351523497990_1282786407481424782_n.mp4?efg=eyJ2ZW5jb2RlX3RhZyI6InZ

95   Betty Who                     I Love You Always Forever                       SheratonLakeBuenaVistaResort   http://www.facebook.com/SheratonLakeBuenaVistaResort/videos/677046159938768/

96   Beyoncé                       ALIEN SUPERSTAR                                 ritzcarltonorlando             http://www.instagram.com/p/Chu2qjYpu5Z

97   Beyoncé                       ALIEN SUPERSTAR                                 wmiamihotel                    http://www.instagram.com/p/Ch2jyBGAXz-

98   Beyoncé                       ALIEN SUPERSTAR                                 wehoedition                    https://www.instagram.com/stories/highlights/17853155054727076/

99   Beyoncé                       ALIEN SUPERSTAR                                 wfortlauderdale                http://www.instagram.com/p/CreAnLHgiYR

100 Beyoncé                        Before I Let Go (Homecoming Live Bonus Track)   gaylordtexan                   https://www.instagram.com/stories/highlights/18018852620006905/

101 Beyoncé                        Break My Soul                                   wmiamihotel                    http://www.instagram.com/p/Ciu4g62A12B

102 Beyoncé                        COZY                                            moxytimessquare                https://www.instagram.com/p/CgpO3BNrMRr

103 Beyoncé                        ENERGY (ft. BEAM)                               watldowntown                   https://www.instagram.com/stories/highlights/17899941062581732/

104 Beyoncé                        Freakum Dress                                   westincopleyplaceboston        http://www.instagram.com/p/CRCfDLeJRf-

105 Beyoncé                        Halo                                            wfortlauderdale                https://www.instagram.com/reel/C6EIThSOWbX/
                                                                                                                  https://scontent-lga3-
106 Beyoncé                        I'M THAT GIRL                                   wseattle                       2.cdninstagram.com/o1/v/t16/f1/m78/4A4CEF2BCD06C76A2C999D2FA224BE8E_video_dashinit.mp

107 Beyoncé                        Love Drought                                    stregisresboston               https://www.instagram.com/reel/ClE04HFjNXq/

108 Beyoncé                        Me, Myself & I                                  innatthemissionsjc             https://www.instagram.com/reel/CW39dj7rU24/

109 Beyoncé                        MY HOUSE                                        jwmarriottanaheim              https://www.instagram.com/stories/highlights/17931568648950617/

110 Beyoncé                        Partition                                       moxytimessquare                https://www.instagram.com/reel/CaFXoMZlZ8n/




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     SME Artist                         SME Track                         Social Media Account           Content URL

111 Beyoncé                             Party                             gaylordnational                https://www.instagram.com/stories/highlights/17850638900619704/

112 Beyoncé                             PLASTIC OFF THE SOFA              moxytimessquare                https://www.instagram.com/reel/C3qcwQ9SECY/

113 Beyoncé                             Pure/Honey                        wmiamihotel                    http://www.instagram.com/p/Ci_BGT_gJ_d

114 Beyoncé                             PURE/HONEY                        wmiamihotel                    https://www.instagram.com/stories/wmiamihotel/3052018843649956194

115 Beyoncé                             Pure/Honey                        moxytimessquare                https://www.instagram.com/reel/CtZZCYfvrp2/

116 Beyoncé                             Ring The Alarm                    wfortlauderdale                http://www.instagram.com/p/CjD4We8A6FN

117 Beyoncé                             Run the World (Girls)             aloftprovidencedowntown        https://www.instagram.com/stories/highlights/17955016324575624/

118 Beyoncé                             Run the World (Girls)             wboston                        https://www.instagram.com/stories/highlights/17924141204280246/

119 Beyoncé                             Run the World (Girls)             wmiamihotel                    https://www.instagram.com/stories/wmiamihotel/3048956598288147250

120 Beyoncé                             Run the World (Girls)             wminneapolis                   https://www.instagram.com/stories/wminneapolis/3065068971169880326

121 Beyoncé                             Run the World (Girls)             ritzcarltonsouthbeach          https://www.instagram.com/stories/highlights/18005155766518725/

122 Beyoncé                             Run the World (Girls)             ritzcarltonsouthbeach          https://www.instagram.com/stories/highlights/18005155766518725/

123 Beyoncé                             Run the World (Girls)             ritzcarltonsouthbeach          https://www.instagram.com/stories/highlights/18005155766518725/

124 Beyoncé                             SUMMER RENAISSANCE                waustin                        http://www.instagram.com/p/ChajGJ-gYBN

125 Beyoncé                             SUMMER RENAISSANCE                westinstfr                     http://www.instagram.com/p/ChdK_YPFlpC

126 Beyoncé                             SUMMER RENAISSANCE                wfortlauderdale                http://www.instagram.com/p/ClRq4gpA9JQ

127 Beyoncé                             TEXAS HOLD 'EM                    ritzcarltondallas              https://www.instagram.com/reel/C3vKOfsLoQY/

128 Beyoncé                             TEXAS HOLD 'EM                    jwbonnetcreek                  https://www.instagram.com/stories/highlights/18270695719050088/

129 Beyoncé                             TEXAS HOLD 'EM                    laxmarriott                    https://www.instagram.com/reel/C5yklTJotk2/

130 Beyoncé                             YA YA                             wnashville                     https://www.instagram.com/stories/wnashville/3359909139092866397/

131 Beyoncé, Missy Elliott              Signs                             themarquishou                  https://www.instagram.com/reel/Cxip9dZuLtA/

132 Beyoncé, Shatta Wale, Major Lazer   ALREADY                           rentampa                       https://www.instagram.com/reel/CgCHD2vKGDx/

133 Big Pun                             Still Not A Player                wfortlauderdale                https://www.instagram.com/reel/C14l0JhOeXC

134 Bill Withers                        Lovely Day                        stregisaspen                   https://www.instagram.com/reel/CPdmKzcHW3B/

135 Bill Withers                        Lovely Day                        phoenicianscottsdale           https://www.instagram.com/reel/CYHNXkxjOkb/
                                                                                                         https://scontent-lga3-2.cdninstagram.com/v/t50.12441-
136 Bill Withers                        Lovely Day                        ritzcarltonameliaisland        16/275144723_686693392349852_6841569064015953927_n.mp4?efg=eyJxZV9ncm91cHMiOiJbXCJ

137 Bill Withers                        Lovely Day                        ritzcarltonphiladelphia        http://www.instagram.com/p/Cj0pijjMVfB

138 Bill Withers                        Lovely Day                        renworthington                 https://www.instagram.com/stories/highlights/17870470523402016/

139 Bill Withers                        Lovely Day                        waikoloabeachmarriott          https://www.instagram.com/stories/highlights/17852002654280002/

140 Bill Withers                        Lovely Day                        rennewportbeach                https://www.instagram.com/reel/Ctw2zqvv5oz/

141 Bill Withers                        Lovely Day                        ritzcarltonlagunaniguel        https://www.instagram.com/reel/C5qd43lueKZ/

142 Bill Withers                        Lovely Day                        theritzcarltonfortlauderdale   https://www.instagram.com/stories/theritzcarltonfortlauderdale/3364357207368505276/

143 Bill Withers                        Lovely Day (Austin Millz Remix)   wnashville                     https://www.instagram.com/reel/ClR56sErmua/

144 Bill Withers                        Lovely Day (Austin Millz Remix)   innatthemissionsjc             https://www.instagram.com/reel/CqWjW-MLTQI/

145 Bill Withers                        Lovely Day (Austin Millz Remix)   gaylordrockies                 https://www.instagram.com/reel/CqvteIENCrT/

146 Bill Withers                        Lovely Day (Austin Millz Remix)   sheratongrandsacramento        https://www.instagram.com/reel/Cq7FCUzNbIu/

147 Bill Withers                        Lovely Day (Austin Millz Remix)   SeattleMarriottWaterfront      https://www.instagram.com/stories/highlights/17925070769593661/

148 Bill Withers                        Lovely Day (Austin Millz Remix)   jwmarriottclearwaterbeach      https://www.instagram.com/reel/CtuThenp618/

149 Bill Withers                        Lovely Day (Austin Millz Remix)   ritzcarltonatlanta             https://www.instagram.com/stories/highlights/17914278905613316/

150 Bill Withers                        Lovely Day (Austin Millz Remix)   ritzcarltonbachelorgulch       https://www.instagram.com/reel/CrLjKgrg3W5/

151 Boney M.                            Sunny                             wmiamihotel                    https://www.instagram.com/stories/wmiamihotel/3104917266219903893

152 Boney M.                            Sunny                             westinstfr                     http://www.instagram.com/p/CtSaxByvBxx

153 Boney M.                            Sunny                             wnashville                     https://www.instagram.com/reel/CtejA3dLiUV/

154 Brad Paisley                        Alcohol                           wboston                        https://www.instagram.com/stories/highlights/17929192966751402/

155 Britney Spears                      …Baby One More Time               westindallasdowntown           https://www.instagram.com/stories/highlights/17953659890076568/

156 Britney Spears                      …Baby One More Time               newyorkmarriottmarquis         https://www.instagram.com/reel/Cs_u_eyLnUi/

157 Britney Spears                      …Baby One More Time               newyorkmarriottmarquis         https://www.instagram.com/reel/CuFR4tOAn4W/

158 Britney Spears                      Break the Ice                     wboston                        https://www.instagram.com/stories/highlights/18080908780301146/

159 Britney Spears                      Break the Ice                     wboston                        https://www.instagram.com/stories/highlights/18080908780301146/

160 Britney Spears                      Circus                            stregisdc                      https://www.instagram.com/stories/highlights/17947968902017919/

161 Britney Spears                      Circus                            stregisdc                      https://www.instagram.com/stories/highlights/17947968902017919/

162 Britney Spears                      Gimme More                        marriottcareers                http://www.instagram.com/p/CWLfZSBgc38

163 Britney Spears                      Gimme More                        miamimarriottbiscaynebay       https://www.instagram.com/reel/C3p8QlqriGP/

164 Britney Spears                      Toxic                             gaylordnational                https://www.instagram.com/stories/highlights/17970052000768466/

165 Britney Spears                      Toxic                             moxy_ac_losangeles             https://www.instagram.com/reel/CxO1o-dvLMu/




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     SME Artist                               SME Track                     Social Media Account         Content URL

166 Britney Spears                            Work Bitch                    wfortlauderdale              https://www.instagram.com/reel/Cvz2hhvsC04

167 Broken Bells                              The High Road                 residenceinnmiamiaventura    https://www.instagram.com/stories/highlights/17994968323061149/

168 Brooks & Dunn                             Neon Moon                     gaylordoprylandresort        http://www.instagram.com/p/CWzI9Pagfog

169 Brooks & Dunn                             Neon Moon                     sheratongrandseattle         https://www.instagram.com/stories/highlights/17918597462554981/

170 Bruce Springsteen                         Born in the U.S.A.            residenceinn.ocmd            http://www.instagram.com/p/Cd6HMXsF5vA

171 Calvin Harris                             Feel So Close                 jwmorlando                   https://www.instagram.com/reel/Cx8nAvlRZZ2/

172 Calvin Harris                             One Kiss                      wmiamihotel                  http://www.instagram.com/p/CguCNrWgeYl

173 Calvin Harris                             Slide                         aloftprovidencedowntown      https://www.instagram.com/stories/highlights/18192324289151429/

174 Calvin Harris                             Slide                         wscottsdale                  https://www.instagram.com/reel/C3YQ2VqvkHT/

175 Calvin Harris                             Slide                         marriottmarquissd            https://www.instagram.com/reel/C3-uJuXO2vv/

176 Calvin Harris                             Slide                         wscottsdale                  https://www.instagram.com/reel/C7ACjErAcCV/

177 Calvin Harris                             Stay With Me                  slsbeverlyhills              https://www.instagram.com/reel/CjQj73mJCHQ/

178 Calvin Harris                             Summer                        wboston                      https://www.instagram.com/stories/highlights/17913619544525867/

179 Calvin Harris                             Summer                        aloftprovidencedowntown      https://www.instagram.com/stories/highlights/17906332442357518/

180 Calvin Harris                             Summer                        wlosangeles                  https://www.instagram.com/stories/highlights/18005386465205485/

181 Calvin Harris                             Summer                        gaylordnational              http://www.instagram.com/p/CgAHVd9DVsH

182 Calvin Harris                             Summer                        westingalleriahouston        https://www.instagram.com/reel/CgSXxdPpAyc/

183 Calvin Harris                             Summer                        themarquishou                http://www.instagram.com/p/CgSU2FPAepC

184 Calvin Harris                             Summer                        marriottmarquissd            https://www.instagram.com/reel/CgzZ7b9A8rn/

185 Calvin Harris                             Summer                        wmiamihotel                  http://www.instagram.com/p/ChSVBRygM0C

186 Calvin Harris                             Summer                        moxytimessquare              https://www.instagram.com/reel/ChaN5ifgjSe/

187 Calvin Harris                             Summer                        jwdesertridge                http://www.instagram.com/p/ChnfqWmg_vq

188 Calvin Harris                             Summer                        watldowntown                 https://www.instagram.com/stories/highlights/17899941062581732/

189 Calvin Harris                             Summer                        wfortlauderdale              https://www.instagram.com/stories/wfortlauderdale/3097782900104503009

190 Calvin Harris                             Summer                        moxynashvilledowntown        https://www.instagram.com/reel/CtcRRlnvEsq/

191 Calvin Harris                             Summer                        themarquishou                https://www.instagram.com/stories/highlights/18053059204054585/

192 Calvin Harris                             Summer                        gaylordtexan                 https://www.instagram.com/stories/highlights/18018852620006905/

193 Calvin Harris                             Summer                        jwmorlando                   https://www.instagram.com/reel/Cx8nAvlRZZ2/

194 Calvin Harris, Ne-Yo                      Let's Go                      wboston                      https://www.instagram.com/stories/highlights/17980709948117623/

195 Calvin Harris, Normani, Tinashe, Offset   New To You                    wfortlauderdale              https://www.instagram.com/reel/CqOTZrcgwoH

196 Camila Cabello                            Bam Bam                       ritzcarltoncoconutgrove      https://www.instagram.com/stories/highlights/17961340264892307/

197 Camila Cabello                            Havana (ft. Young Thug)       ritzcarltonkeybiscayne       https://www.instagram.com/stories/ritzcarltonkeybiscayne/3368817817174217088/

198 Camila Cabello, Daddy Yankee              Havana (Remix)                gaylordrockies               https://www.instagram.com/stories/highlights/18030995986038809/

199 Camilla Cabello                           Bam Bam                       swandolphin                  https://www.instagram.com/reel/Cr3MgdBMi00/

200 Campsite Dream                            Crush                         wmiamihotel                  http://www.instagram.com/p/Cnrq7oyD_Ue

201 Campsite Dream                            September                     sheratoneatontown            http://www.instagram.com/p/Cift3gLALSA

202 Campsite Dream                            September                     ritzcarltoncoconutgrove      https://www.instagram.com/stories/highlights/17961340264892307/

203 Campsite Dream                            September                     westinirvingcc               https://www.instagram.com/reel/CxgVl4KviE0/

204 Cannons                                   Bad Dream                     anaheimmarriott              http://www.instagram.com/p/CnnHHknqAt8

205 Cannons                                   Come Alive                    ritzcarltonkapalua           https://www.instagram.com/stories/highlights/17857399253632174/

206 Cannons                                   Fire for You                  marriottmarquissd            https://www.instagram.com/reel/Cj6r56MpWfy/

207 Cannons & Tiësto                          Come Alive                    ritzcarltonsouthbeach        https://www.instagram.com/stories/highlights/17943587621001758/

208 Cannons & Tiësto                          Fire for You (Tiësto Remix)   wmiamihotel                  http://www.instagram.com/p/CcN03ysDVzt

209 Cannons & Tiësto                          Fire for You (Tiësto Remix)   ritzcarltonresortsofnaples   http://www.instagram.com/p/Cpk2bKCh2JE

210 Cass Elliot                               Baby I'm Yours                wnashville                   https://www.instagram.com/reel/C3Qi2LuPAUs/

211 Cat Burns                                 Live more & Love More         gaylordrockies               https://www.instagram.com/stories/highlights/18030995986038809/

212 Céline Dion                               All By Myself                 marriottcareers              http://www.instagram.com/p/CW8qgIYJGey

213 Céline Dion                               All By Myself                 marriottjobsandcareers       http://www.facebook.com/marriottjobsandcareers/videos/202142948754558/

214 Céline Dion                               Another Year Has Gone By      residenceinn.ocmd            http://www.instagram.com/p/CYNZU9dlJlM

215 Cheryl Lynn                               Got To Be Real                magmilemarriott              http://www.instagram.com/p/CdOoXlyOzIy

216 Cheryl Lynn                               Got To Be Real                magmilemarriott              http://www.instagram.com/p/ChcUoHMgI0I

217 Cheryl Lynn                               Got To Be Real                wnashville                   https://www.instagram.com/reel/CixzCpisgDC/

218 Cheryl Lynn                               Got To Be Real                wmiamihotel                  http://www.instagram.com/p/CqnsaMauMxf

219 Cheryl Lynn                               Got To Be Real                sheratonpk                   https://www.instagram.com/reel/CrzAe3gLZdT/

220 Childish Gambino                          Feels Like Summer             wboston                      https://www.instagram.com/stories/highlights/17913619544525867/




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     SME Artist                                  SME Track                                Social Media Account      Content URL

221 Childish Gambino                             Feels Like Summer                        wphiladelphia             https://www.instagram.com/stories/highlights/18306355291004351/

222 Childish Gambino                             Feels Like Summer                        westinnashville           https://www.instagram.com/stories/highlights/17971324097396180/

223 Childish Gambino                             Feels Like Summer                        jwmorlando                https://www.instagram.com/stories/jwmorlando/3368789378224542842/

224 Childish Gambino                             Summertime Magic                         wseattle                  https://www.instagram.com/stories/highlights/17963297422045297/

225 Chloe                                        Have Mercy                               sheratondenverdowntown    https://www.instagram.com/stories/highlights/17856112007631262/

226 Chris Brown                                  Fine China                               wehoedition               https://www.instagram.com/stories/highlights/17901375910606506/

227 Chris Brown                                  Forever                                  sheratoneatontown         http://www.instagram.com/p/Cl82sLrg6Ns

228 Chris Brown                                  Sensational (ft. Davido & Lojay)         shschester                https://www.instagram.com/reel/C0Xqe_MgCHA/

229 Chris Brown                                  Sensational (ft. Davido & Lojay)         westindcdowntown          https://www.instagram.com/reel/C0xmNuQte2L/

230 Chris Brown                                  Wobble Up                                aloftprovidencedowntown   https://www.instagram.com/stories/highlights/17906332442357518/

231 Chris Brown feat. T-Pain                     Kiss Kiss                                wmiamihotel               https://www.instagram.com/stories/wmiamihotel/3110482611324102516

232 Christian French                             Meet Me At Our Spot                      innatthemissionsjc        https://www.instagram.com/reel/CjtLoVHLZJw/

233 Christian French                             Meet Me At Our Spot                      wlosangeles               http://www.instagram.com/p/CmZ2b0zJBSx

234 Christian French                             Meet Me At Our Spot                      westindallasdowntown      https://www.instagram.com/stories/highlights/17891374919536877/

235 Christina Aguilera                           Genie In A Bottle                        wseattle                  https://www.instagram.com/stories/highlights/17963297422045297/

236 Cloudy June                                  21st Century Princess                    wboston                   https://www.instagram.com/stories/highlights/18003308467751870/

237 Crazy Town                                   Butterfly                                wmiamihotel               http://www.instagram.com/p/CgMmBb-Aelh

238 Cyndi Lauper                                 Girls Just Want to Have Fun              gaylordoprylandresort     https://www.instagram.com/stories/highlights/17890183891434808/

239 Cyndi Lauper                                 Girls Just Want to Have Fun              gaylordoprylandresort     https://www.instagram.com/stories/highlights/17998674307453979/

240 Cyndi Lauper                                 Girls Just Want to Have Fun              jwlalive                  https://www.instagram.com/reel/Cyyg3kls4_1/

241 Cyndi Lauper                                 Girls Just Want to Have Fun              gaylordrockies            https://www.instagram.com/stories/highlights/17939132734248806/

242 Cyndi Lauper                                 Girls Just Want to Have Fun              westinbellevue            https://www.instagram.com/stories/highlights/17913977024913541/

243 Cyndi Lauper                                 Girls Just Want to Have Fun              ritzcarltondenver         https://www.instagram.com/stories/ritzcarltondenver/3366747400540727053/

244 Cypress Hill                                 Tequila Sunrise                          gaylordtexan              https://www.instagram.com/stories/highlights/18124200088307549/

245 Daft Punk, Pharrell Williams, Nile Rodgers   Get Lucky                                moxy_ac_losangeles        https://www.instagram.com/reel/C3nZodJNjpB/

246 Darlene Love                                 Christmas (Baby Please Come Home)        westinchicagorivernorth   https://www.instagram.com/reel/C0mnE80P-Tm/

247 Darlene Love                                 Christmas (Baby Please Come Home)        rendallashotel            https://www.instagram.com/stories/highlights/17995759181140539/

248 Daryl Hall & John Oates                      I Can't Go For That (Pomo Remix)         ritzcarltonkapalua        https://www.instagram.com/stories/highlights/17969875456604137/

249 Daryl Hall & John Oates                      I Can't Go For That (Pomo Remix)         wmiamihotel               http://www.instagram.com/p/CnQCuUyjpj-

250 Daryl Hall & John Oates                      I Can't Go For That (Pomo Remix)         marriottdallas            https://www.instagram.com/reel/CnSYDkUJfM9/

251 Daryl Hall & John Oates                      I Can't Go For That (Pomo Remix)         jwbonnetcreek             https://www.instagram.com/reel/ConSZy3KyvB/

252 Daryl Hall & John Oates                      I Can't Go For That (Pomo Remix)         wmiamihotel               https://www.instagram.com/reel/CrOVF6bgVMV

253 Daryl Hall & John Oates                      I Can't Go For That (Pomo Remix)         wnashville                https://www.instagram.com/reel/CrTlNkIMiBT/

254 Daryl Hall & John Oates                      I Can't Go For That (Pomo Remix)         renaissancelax            http://www.instagram.com/p/CtwjQ5CKofh

255 David Guetta, Benny Benassi                  Satisfaction (Hardwell & Maddix Remix)   gaylordtexan              https://www.instagram.com/stories/highlights/18005184937779713/

256 Dead or Alive                                You Spin Me Round                        gaylordrockies            https://www.instagram.com/stories/highlights/17869240172446639/

257 deadmau5, Benny Benassi, Gary Go             The Veldt Cinema (BYNX Edit)             themayflowerhoteldc       https://www.instagram.com/reel/Ce6VdOiA3G3/

258 Declan McKenna                               Brazil                                   westinsavannah            https://www.instagram.com/reel/C5RGj1FCKsn/

259 Destiny's Child                              Bug a Boo                                themayflowerhoteldc       https://www.instagram.com/reel/C3IwbFaRp7h/

260 Destiny's Child                              Bug a Boo                                jwmarriottmpls            https://www.instagram.com/stories/highlights/17951445248206815/

261 Destiny's Child                              Survivor                                 slsbeverlyhills           https://www.instagram.com/stories/slsbeverlyhills/3365056916387350454/

262 Disco Lines                                  Baby Girl                                marriotthotels            http://www.instagram.com/p/CdeDl_UllY2

263 Disco Lines                                  Baby Girl                                wlosangeles               http://www.instagram.com/p/CekYuBTjd9N

264 Disco Lines                                  Baby Girl                                moxynooga                 https://www.instagram.com/reel/Cia3uWEJ11d/

265 DJ Jazzy Jeff & The Fresh Prince             Summertime                               gaylordoprylandresort     https://www.instagram.com/stories/highlights/17931878906228693/

266 DJ Khaled                                    GOD DID                                  jwmarriottanaheim         https://www.instagram.com/stories/highlights/17900237885375990/

267 DJ Khaled ft. Rihanna & Bryson Tiller        Wild Thoughts                            westinnashville           https://www.instagram.com/reel/CTFrv4RlXAN/

268 D-Nice                                       Crumbs On the Table                      wehoedition               http://www.instagram.com/p/CTSULvWn4gJ

269 Doja Cat                                     Fancy                                    irvinemarriott            https://www.instagram.com/stories/highlights/17906933012464738/

270 Doja Cat                                     Kiss Me More (ft. Naomi Watanabe)        moxynashvilledowntown     https://www.instagram.com/reel/CsW8vKiuw9E/

271 Doja Cat                                     Paint The Town Red                       wlosangeles               https://www.instagram.com/stories/highlights/18047374489520638/

272 Doja Cat                                     Paint The Town Red                       wnashville                https://www.instagram.com/reel/CyUNdzCuo-n/

273 Doja Cat                                     Paint The Town Red                       wboston                   https://www.instagram.com/reel/Cy9RJdeJxoV/

274 Doja Cat                                     Paint the Town Red                       moxytimessquare           https://www.instagram.com/reel/C0SRKXjO5Sn/

275 Doja Cat                                     Paint The Town Red                       westinstfr                https://www.instagram.com/stories/highlights/18040072210219760/




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     SME Artist                    SME Track                         Social Media Account        Content URL

276 Doja Cat                       Say So                            westinnashville             https://www.instagram.com/reel/CaVfJKWFjRi/

277 Doja Cat                       Streets                           residenceinnmiamiaventura   https://www.instagram.com/stories/highlights/17994968323061149/

278 Doja Cat                       Vegas                             wfortlauderdale             http://www.instagram.com/p/CjD4We8A6FN

279 Doja Cat                       Woman                             wmiamihotel                 http://www.instagram.com/p/CYMZLArF9nW

280 Doja Cat                       Woman                             wmiamihotel                 https://www.instagram.com/stories/wmiamihotel/3052017973021438054
                                                                                                 https://scontent-lga3-
281 Doja Cat & Tyga                Juicy                             wseattle                    2.cdninstagram.com/o1/v/t16/f1/m51/2F48B918896FF24D81BF117002F48995_video_dashinit.mp4

282 Doja Cat feat. SZA             Kiss Me More                      moxyhotels                  http://www.instagram.com/p/CShGQCsNxcL

283 Dolla                          Make a Toast                      wseattle                    https://www.instagram.com/stories/highlights/17939535374335851/

284 Dolly Parton, Kenny Rogers     Islands In The Stream             laxmarriott                 https://www.instagram.com/reel/C4RJ2gHigux/
285 Dom Dolla                      Saving Up                         innatthemissionsjc          https://www.instagram.com/stories/innatthemissionsjc/
286 Dominic Fike                   Babydoll                          marriottmarquissd           https://www.instagram.com/stories/marriottmarquissd/
287 Doris Day                      Perhaps, Perhaps, Perhaps         wmiamihotel                 https://www.instagram.com/reel/CwgCbNigSPa
288 Earth, Wind & Fire             Beijo                             marriottmarquissd           https://www.instagram.com/reel/C6rWg6DudWN/
289 Earth, Wind & Fire             Beijo                             lido_house                  https://www.instagram.com/stories/lido_house/3364518403135448172/
290 Earth, Wind & Fire             Beijo                             newyorkmarriottmarquis      https://www.instagram.com/reel/C66Y8V5uvuH/
291 Earth, Wind & Fire             Beijo                             anaheimmarriott             https://www.instagram.com/reel/C7CdBhfOxe5/
292 Earth, Wind & Fire             Can't Hide Love                   ritzcarltoncharlotte        http://www.instagram.com/p/Ca0tdh_p8iS

293 Earth, Wind & Fire             Let's Groove                      fairfieldinnpennstation     https://www.instagram.com/reel/CdYm9cyAKRb/

294 Earth, Wind & Fire             Let's Groove                      swandolphin                 https://www.instagram.com/stories/highlights/17859498980995398/

295 Earth, Wind & Fire             September                         waikoloabeachmarriott       https://www.instagram.com/reel/CjTj73fDsw3/

296 Earth, Wind & Fire             September                         jwlalive                    https://www.instagram.com/reel/CjYOoZ4jwtQ/

297 Earth, Wind & Fire             September                         sheratonmaui                https://www.instagram.com/reel/CkFuOL2jfYl/

298 Earth, Wind & Fire             September                         innatthemissionsjc          https://www.instagram.com/reel/Ck_oHEdLveG/

299 Earth, Wind & Fire             September                         rentimessquare              http://www.instagram.com/p/ClrVnstjxkC

300 Earth, Wind & Fire             September                         themarquishou               http://www.instagram.com/p/CnDSUi8puGt

301 Earth, Wind & Fire             September                         ritzcarltonhmb              https://www.instagram.com/stories/highlights/18044258896608231/

302 Earth, Wind & Fire             September                         jwmarriottclearwaterbeach   https://www.instagram.com/reel/CxOU00JxCI1/

303 Earth, Wind & Fire             September                         jwbonnetcreek               https://www.instagram.com/reel/Cw0j6SZqqMH/

304 Earth, Wind & Fire             September                         wfortlauderdale             https://www.instagram.com/reel/CyYpCvcr39_

305 Earth, Wind & Fire             September                         ritzcarltonameliaisland     http://www.instagram.com/p/CyrdftJLQFx

306 Earth, Wind & Fire             September                         newyorkmarriottmarquis      https://www.instagram.com/reel/C58aRG3rM5q/

307 Earth, Wind & Fire             September                         ritzcarltonlascolinas       https://www.instagram.com/stories/ritzcarltonlascolinas/3358461807347670818/

308 Earth, Wind & Fire             Shining Star                      jwmarcoisland               http://www.instagram.com/p/C2NGuJ-uHRM
                                                                                                 https://scontent-lga3-1.cdninstagram.com/v/t50.12441-
309 Eartha Kitt                    C'est Si Bon                      ritzcarltonameliaisland     16/279074532_739089650415906_2183439357878267195_n.mp4?efg=eyJxZV9ncm91cHMiOiJbXCJ

310 Eartha Kitt                    Santa Baby                        sheratoncrowncenter         https://www.instagram.com/reel/C0uvWf6L22D/

311 Electric Light Orchestra       Mr. Blue Sky                      swandolphin                 https://www.instagram.com/reel/CxycGTQOrP7/

312 Electric Light Orchestra       Mr. Blue Sky                      swandolphin                 https://www.instagram.com/reel/CyYgAIZuWzX/

313 Elvis Crespo                   Píntame                           jwdesertridge               https://www.instagram.com/stories/highlights/17940406256080133/

314 Elvis Crespo                   Píntame                           jwdesertridge               https://www.instagram.com/stories/highlights/17940406256080133/

315 Elvis Presley                  If I Can Dream                    marriottbonvoy              https://www.instagram.com/stories/highlights/17901221342581357/

316 Elvis Presley                  If I Can Dream                    newportmarriott             https://www.instagram.com/reel/Ct1y9bdqy6e/

317 Emmy Meli                      I AM WOMAN                        aloftprovidencedowntown     https://www.instagram.com/stories/highlights/17955016324575624/

318 Emmy Meli                      I AM WOMAN                        RenaissanceLongBeach        http://www.facebook.com/RenaissanceLongBeach/videos/941165473234958/

319 Emmy Meli                      I AM WOMAN                        aloft_boston                https://www.instagram.com/stories/aloft_boston/3083778887950792753

320 Emmy Meli                      I AM WOMAN                        ritzcarltonsouthbeach       https://www.instagram.com/stories/highlights/18005155766518725/

321 Enrique Iglesias and Pitbull   MOVE TO MIAMI                     wmiamihotel                 http://www.instagram.com/p/CY2LhyfLI24

322 Europe                         The Final Countdown               theresidencesmiamibeach     http://www.instagram.com/p/CODP9lWHXD5

323 Eurythmics                     Sweet Dreams (Are Made of This)   westinstfr                  http://www.instagram.com/p/Cd9QlNdFIwZ

324 Eurythmics                     Sweet Dreams (Are Made of This)   wmiamihotel                 http://www.instagram.com/p/CgUTFgEAleg

325 Eurythmics                     Sweet Dreams (Are Made of This)   editionnewyork              https://www.instagram.com/reel/CkY82xegslA/

326 Eurythmics                     Sweet Dreams (Are Made of This)   wscottsdale                 http://www.instagram.com/p/CoTGaB8AVrk

327 Eurythmics                     Sweet Dreams (Are Made of This)   wscottsdale                 https://www.instagram.com/stories/highlights/18045336550378499/

328 Eurythmics                     Sweet Dreams (Are Made of This)   westinnashville             https://www.instagram.com/reel/Cp6dIPHMaBH/

329 Eurythmics                     Sweet Dreams (Are Made of This)   newyorkmarriottmarquis      https://www.instagram.com/reel/CtwP3qGuppA/

330 Eurythmics                     Sweet Dreams (Are Made of This)   gaylordtexan                https://www.instagram.com/stories/highlights/18005184937779713/

331 Farruko                        Pepas                             jwmorlando                  https://www.instagram.com/reel/Cx8nAvlRZZ2/
                                                                                                 https://scontent-lga3-2.cdninstagram.com/v/t50.12441-
332 Farruko & Tiesto               Pepas                             ritzcarltonameliaisland     16/279102245_3150102771944204_7052876326606644437_n.mp4?efg=eyJxZV9ncm91cHMiOiJbXC

333 Farruko & Tiesto               Pepas                             wmiamihotel                 http://www.instagram.com/p/CdHTjoHDhJu




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     SME Artist                                      SME Track                                Social Media Account            Content URL

334 Fausto Papetti                                   La dolce vita                            ritzcarltonreynoldslakeoconee   http://www.instagram.com/p/CuDJqtvgmLL

335 Fausto Papetti                                   La dolce vita                            jwmarriottanaheim               http://www.instagram.com/p/CuhSscEsm3l

336 Foster the People                                Pumped Up Kicks                          sheratonmaui                    https://www.instagram.com/reel/CkMr9WHJ8Jz/

337 Foster the People                                Pumped Up Kicks                          irvinemarriott                  https://www.instagram.com/reel/CnXWqzHK0OH/

338 Frank Sinatra with The B. Swanson Quartet        Let It Snow! Let It Snow! Let It Snow!   sheratondenverdowntown          https://www.instagram.com/stories/highlights/17881355066734763/

339 Frank Sinatra with The B. Swanson Quartet        Let It Snow! Let It Snow! Let It Snow!   magmilemarriott                 http://www.instagram.com/p/CmJy_fwuRUP

340 Frank Sinatra with The B. Swanson Quartet        Let It Snow! Let It Snow! Let It Snow!   renschaumburg                   https://www.instagram.com/reel/C0RraYorDwF/

341 Frank Sinatra with The B. Swanson Quartet        Let It Snow! Let It Snow! Let It Snow!   ChicagoMarriottDowntown         http://www.facebook.com/ChicagoMarriottDowntown/videos/899265334839426/

342 Freddie Scott                                    (You) Got What I Need                    miamimarriottbiscaynebay        https://www.instagram.com/reel/CxsxDvYswk6/

343 Fugees                                           Killing Me Softly with His Song          moxynashvilledowntown           http://www.instagram.com/p/Cj06FWeAMht

344 Future                                           Never Stop                               rentampa                        https://www.instagram.com/stories/highlights/17987927209782108/

345 Future                                           Wait For U                               jwdesertridge                   http://www.facebook.com/jwdesertridge/videos/745660519809110/

346 G-Eazy                                           Hittin Licks                             ritzcarltonsouthbeach           https://www.instagram.com/stories/highlights/17940155165050847/

347 G-Eazy x Bebe Rexha                              Me, Myself & I                           magmilemarriott                 https://www.instagram.com/stories/highlights/17961765778876336/

348 Gente de Zona & Maffio                           Háblame de Miami                         wmiamihotel                     https://www.instagram.com/stories/wmiamihotel/3138775656553401327

349 George Michael                                   Amazing                                  newyorkmarriottmarquis          https://www.instagram.com/stories/newyorkmarriottmarquis/3352657807512483337/

350 George Michael                                   Careless Whisper (Austin Millz Remix)    newyorkmarriottmarquis          https://www.instagram.com/reel/C3Dc1HwuoS-/

351 Ginuwine                                         Pony                                     moxynashvilledowntown           https://www.instagram.com/reel/CzEUMmZOLI4/

352 girl in red                                      October Passed Me By                     sheratongrandla                 https://www.instagram.com/reel/CmhDHdRLJ3G/

353 Glenn Miller                                     In The Mood                              westindcdowntown                https://www.instagram.com/reel/Cw5cm7DujnO/

354 Glenn Miller                                     In the Mood                              ritzcarltontysonscorner         http://www.facebook.com/ritzcarltontysonscorner/videos/191722183947447/

355 Glenn Miller                                     In the Mood                              innatthemissionsjc              https://www.instagram.com/stories/highlights/17853525215227769/

356 Glenn Miller & His Orchestra                     In The Mood                              lido_house                      https://www.instagram.com/reel/C6PMbNPvSOm/

357 Gloria Estefan & Miami Sound Machine             Conga                                    anaheimcourtyard                https://www.instagram.com/reel/C592onxolqK/

358 GoldLink feat. Tyler, The Creator & Jay Prince   U Say                                    EDITION Hotels                  https://www.youtube.com/watch?v=KPjf6YhGbqY

359 H.E.R.                                           Every Kind Of Way                        jwmarcoisland                   http://www.instagram.com/p/CoPrdihAW4u

360 H.E.R.                                           Every Kind Of Way                        themayflowerhoteldc             https://www.instagram.com/reel/CrjJaqsAWmt/

361 H.E.R.                                           Focus                                    sheratonkauai                   https://www.instagram.com/reel/C597LDuLcXV/

362 H.E.R.                                           Slide (ft. YG)                           wboston                         https://www.instagram.com/stories/highlights/18080908780301146/

363 H.E.R. feat. Yung Bleu                           Paradise                                 wfortlauderdale                 https://www.instagram.com/p/CbIHFaEAC5o

364 Harry Styles                                     Adore You                                wseattle                        https://www.instagram.com/stories/highlights/17939535374335851/

365 Harry Styles                                     Adore You                                wseattle                        https://www.instagram.com/stories/highlights/17930106712787618/

366 Harry Styles                                     Adore You                                ritzcarltonsouthbeach           https://www.instagram.com/stories/highlights/17851491103837581/
                                                                                                                              https://scontent-lga3-2.cdninstagram.com/v/t50.12441-
367 Harry Styles                                     As It Was                                ritzcarltonameliaisland         16/279414702_162521926224365_7434517758121144221_n.mp4?efg=eyJxZV9ncm91cHMiOiJbXCJ

368 Harry Styles                                     As It Was                                westinnashville                 https://www.instagram.com/reel/CdbW3VilC4d/

369 Harry Styles                                     As It Was                                themayflowerhoteldc             https://www.instagram.com/reel/CdvuTPrAXTy/

370 Harry Styles                                     As It Was                                renchicagodowntown              https://www.instagram.com/reel/CfFBtLepNJM/

371 Harry Styles                                     As It Was                                sfmarriottunionsquare           https://www.instagram.com/stories/highlights/17871828212701073/

372 Harry Styles                                     As It Was                                stregisdc                       https://www.instagram.com/stories/highlights/17934456017480806/

373 Harry Styles                                     As It Was                                westinstfr                      http://www.instagram.com/p/ChntrGHlCdr

374 Harry Styles                                     As It Was                                ritzcarltoncharlotte            http://www.instagram.com/p/Chxmo8fJvBt

375 Harry Styles                                     As It Was                                gaylordrockies                  https://www.instagram.com/stories/highlights/17939132734248806/

376 Harry Styles                                     As It Was                                swandolphin                     https://www.instagram.com/reel/Ck3ywQYvEHu/

377 Harry Styles                                     As It Was                                westinstfr                      http://www.instagram.com/p/ClPDV8tPLp0

378 Harry Styles                                     As It Was                                irvinemarriott                  https://www.instagram.com/stories/highlights/17934593668803315/

379 Harry Styles                                     As It Was                                orlandoworldcenter              https://www.instagram.com/reel/CqA3bn5qVFk/

380 Harry Styles                                     As It Was                                jwbonnetcreek                   https://www.instagram.com/reel/CqQUijgqrqv/

381 Harry Styles                                     As It Was                                westinstfr                      https://www.instagram.com/stories/westinstfr/3111007733004420162

382 Harry Styles                                     As It Was                                jwbonnetcreek                   https://www.instagram.com/stories/highlights/18270695719050088/

383 Harry Styles                                     As It Was                                jwbonnetcreek                   https://www.instagram.com/stories/highlights/18270695719050088/

384 Harry Styles                                     As It Was                                sheratoneatontown               https://www.instagram.com/stories/sheratoneatontown/3128710823044907229

385 Harry Styles                                     As It Was                                sheratoneatontown               https://www.instagram.com/stories/sheratoneatontown/3130335165734363487

386 Harry Styles                                     As It Was                                sheratoneatontown               https://www.instagram.com/stories/sheratoneatontown/3130335247020012207

387 Harry Styles                                     As It Was                                westinstfr                      https://www.instagram.com/stories/highlights/17939283689689773/

388 Harry Styles                                     As It Was                                sheratonoverlandpark            https://www.instagram.com/p/C2dG8r9pcg5/




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     SME Artist     SME Track                      Social Media Account           Content URL

389 Harry Styles    As It Was                      ritzcarltoncoconutgrove        https://www.instagram.com/stories/ritzcarltoncoconutgrove/3364457967552176918/

390 Harry Styles    As It Was                      palacehotelsf                  https://www.instagram.com/reel/C1hny4krh52/

391 Harry Styles    As It Was                      ritzcarltoncharlotte           https://www.instagram.com/reel/C6Yq22kOXS_/

392 Harry Styles    Cinema                         westinstfr                     https://www.instagram.com/stories/highlights/17939283689689773/

393 Harry Styles    Golden                         westinkierlandvillas           https://www.instagram.com/reel/CiTGQkGP_se/

394 Harry Styles    Golden                         westinstfr                     http://www.instagram.com/p/Cjvd8VZuHBD
                                                                                  https://scontent-lga3-
395 Harry Styles    Golden                         ritzcarltonameliaisland        2.cdninstagram.com/o1/v/t16/f1/m78/AE4286881D4B1E918174D1D73C3821AE_video_dashinit.mp

396 Harry Styles    Golden                         wminneapolis                   https://www.instagram.com/stories/wminneapolis/

397 Harry Styles    Grapejuice                     westinhhi                      https://www.instagram.com/stories/highlights/17846132401948192/

398 Harry Styles    Late Night Talking             moxynooga                      https://www.instagram.com/reel/ClR-9xhg9KE/

399 Harry Styles    Late Night Talking             jwdesertridge                  http://www.instagram.com/p/CnXnepQJ9xb

400 Harry Styles    Lights Up                      westinsavannah                 https://www.instagram.com/stories/highlights/17917828907834196/

401 Harry Styles    Music For a Sushi Restaurant   westinnashville                https://www.instagram.com/reel/Cd8fZY8l88g/

402 Harry Styles    Music For A Sushi Restaurant   anaheimcourtyard               https://www.instagram.com/stories/highlights/17922624424282686/

403 Harry Styles    Music For a Sushi Restaurant   westinirvingcc                 https://www.instagram.com/reel/Cg41ju3pHBr/
                                                                                  https://scontent-lga3-
404 Harry Styles    Music For a Sushi Restaurant   ritzcarltonameliaisland        2.cdninstagram.com/o1/v/t16/f1/m78/674A5A1A05CE51B5F837F0EC6A5E7590_video_dashinit.mp

405 Harry Styles    Satellite                      seattlemarriottwaterfront      https://www.instagram.com/reel/C4a6g1wq3Q_/

406 Harry Styles    Watermelon Sugar               gaylordoprylandresort          https://www.instagram.com/stories/highlights/17890183891434808/

407 Harry Styles    Watermelon Sugar               gaylordrockies                 https://www.instagram.com/stories/highlights/17939132734248806/

408 Harry Styles    Watermelon Sugar               aloftprovidencedowntown        https://www.instagram.com/stories/highlights/18128469994247460/

409 Harry Styles    Watermelon Sugar               jwdesertridge                  https://www.instagram.com/stories/jwdesertridge/3129517542666922753

410 Harry Styles    Watermelon Sugar               theritzcarltonfortlauderdale   https://www.instagram.com/stories/theritzcarltonfortlauderdale/3347875077204756068/

411 Henry Mancini   Breakfast at Tiffany's         Whotels                        https://www.instagram.com/stories/highlights/18027605584490465/

412 Henry Mancini   Champagne and Quail            ritzcarltondenver              https://www.instagram.com/stories/ritzcarltondenver/3364644006149509722/
                                                                                  https://scontent-lga3-
413 Henry Mancini   Lujon                          ritzcarltonsouthbeach          1.cdninstagram.com/o1/v/t16/f1/m51/00481D0A9D711126C855156CD5BBFC83_video_dashinit.mp

414 Henry Mancini   Lujon                          westinstfr                     https://www.instagram.com/stories/highlights/18095767783074809/

415 Henry Mancini   Lujon                          westinstfr                     https://www.instagram.com/stories/highlights/18095767783074809/

416 Hooverphonic    No More Sweet Music            westinstfr                     http://www.instagram.com/p/CixVWD1MaKc

417 Hozier          Like Real People Do            gaylordoprylandresort          https://www.instagram.com/stories/highlights/17998674307453979/

418 Hozier          Take Me to Church              wseattle                       https://www.instagram.com/stories/wseattle/3093370668779091433

419 Hozier          Would That I                   stregishouston                 https://www.instagram.com/stories/highlights/17993406217871970/

420 Hozier          Would That I                   westinstfr                     http://www.instagram.com/p/CpVYnqvtame

421 Iniko           The King's Affirmation         wboston                        https://www.instagram.com/reel/CuH8BDxJzQT/

422 Isabel LaRosa   I'm yours sped up              marriottwaikiki                https://www.instagram.com/reel/CmkTFWEJitu/

423 Isabel LaRosa   I'm yours sped up              thenotaryhotel                 https://www.instagram.com/reel/CstkFuoKi09/

424 Isabel LaRosa   i'm yours sped up              renaissanceboston              https://www.instagram.com/reel/Cn1mIuXKGm3/

425 Isabel LaRosa   i'm yours sped up              renaissanceboston              https://www.instagram.com/stories/highlights/17858318051918327/

426 Izzy Bizu       White Tiger                    wehoedition                    https://www.instagram.com/stories/highlights/17901375910606506/

427 Jain            Makeba                         gaylordtexan                   https://www.instagram.com/stories/highlights/18005184937779713/

428 Jain            Makeba                         wboston                        https://www.instagram.com/reel/CtkkG5FJh-Q/

429 Jain            Makeba                         courtyardmarketsquare          https://www.instagram.com/reel/CtrO9coAjFF/

430 Jain            Makeba                         jwmarcoisland                  http://www.instagram.com/p/CtrvkB-tcdP

431 Jain            Makeba                         rentimessquare                 https://www.instagram.com/stories/rentimessquare/3128486693123948832

432 Jain            Makeba                         westinstfr                     http://www.instagram.com/p/Ct-XDHRussG

433 Jain            Makeba                         gaylordtexan                   https://www.instagram.com/stories/highlights/18124200088307549/

434 Jain            Makeba                         rentimessquare                 https://www.instagram.com/stories/rentimessquare/3135223720985160602

435 Jain            Makeba                         gaylordtexan                   https://www.instagram.com/stories/highlights/18124200088307549/

436 Jain            Makeba                         sanantoniomarriott             https://www.instagram.com/reel/CuequplMZko/

437 Jain            Makeba                         marriottdullesairport          https://www.instagram.com/reel/Cumt7hMqfqr/

438 Jain            Makeba                         jwmarriottclearwaterbeach      https://www.instagram.com/reel/CwTKvM-gk8a/

439 Jain            Makeba                         jwbonnetcreek                  https://www.instagram.com/reel/Cwf-BHIKkPg/

440 Jain            Makeba                         montereymarriott               https://www.instagram.com/reel/CxOjx3iMCkL/

441 Jain            Makeba                         westinirvingcc                 https://www.instagram.com/reel/Cxs6dvjLjAQ/

442 Jain            Makeba                         residenceinnmiamiaventura      https://www.instagram.com/reel/C56lrAuKN1c/

443 Jain            Makeba                         moxy_ac_losangeles             https://www.instagram.com/stories/highlights/18249093265199731/




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     SME Artist                        SME Track                  Social Media Account          Content URL

444 Jain                               Makeba                     brooklynmarriott              https://www.instagram.com/reel/CwGNHkFqWP8/

445 Jain                               Makeba (Ian Asher Remix)   innatthemissionsjc            https://www.instagram.com/reel/CtnWMArMZim/

446 Jain                               Makeba (Ian Asher Remix)   moxynashvilledowntown         https://www.instagram.com/reel/Ctwyow5AOq-/

447 Jain                               Makeba (Ian Asher Remix)   marriottmarquissd             https://www.instagram.com/reel/CuCz8XpgkTY/

448 Jain                               Makeba (Ian Asher Remix)   palacehotelsf                 https://www.instagram.com/reel/CuuJjSBtx-y/

449 James Arthur                       Falling Like The Stars     lido_house                    https://www.instagram.com/stories/highlights/17916019544738285/

450 Jamiroquai                         Canned Heat                wfortlauderdale               https://www.instagram.com/reel/C5tEIHdJL9_/

451 Jamiroquai                         Dynamite                   wnashville                    https://www.instagram.com/stories/wnashville/3347599520274419652/

452 Jazmine Sullivan                   Masterpiece                gaylordnational               https://www.instagram.com/stories/highlights/17932915078647577/

453 Jennifer Lopez feat. Fabolous      Get Right                  sheratonnola                  http://www.instagram.com/p/CuaYW9eKkvk

454 JNR CHOI, Sam Tompkins             TO THE MOON                newarkairportmarriottevents   https://www.instagram.com/reel/CZcmSrlqczG/

455 John Legend                        All of Me                  gaylordoprylandresort         https://www.instagram.com/stories/highlights/17890183891434808/

456 John Legend                        All of Me                  gaylordoprylandresort         https://www.instagram.com/stories/highlights/17890183891434808/

457 John Legend                        Good Morning               gaylordnational               https://www.instagram.com/stories/highlights/17938196950764013/

458 John Legend                        Slow Dance                 ritzcarltonsanfrancisco       https://www.instagram.com/stories/highlights/17957333162467049/

459 Journey                            Don't Stop Believin'       residenceinn.ocmd             https://www.instagram.com/stories/residenceinn_ocmd/3151842779352496998

460 Justin Timberlake                  CAN'T STOP THE FEELING     moxynooga                     https://www.instagram.com/stories/highlights/18087966592192711/

461 Justin Timberlake                  CAN'T STOP THE FEELING!    gaylordrockies                https://www.instagram.com/stories/highlights/18030995986038809/

462 Justin Timberlake                  CAN'T STOP THE FEELING!    gaylordoprylandresort         https://www.instagram.com/stories/gaylordoprylandresort/3114484027847935788

463 Justin Timberlake                  CAN'T STOP THE FEELING!    gaylordrockies                https://www.instagram.com/stories/highlights/18030995986038809/

464 Justin Timberlake                  Like I Love You            ritzcarltonsouthbeach         https://www.instagram.com/stories/highlights/18200365687123587/

465 Justin Timberlake                  My Love                    gaylordnational               https://www.instagram.com/stories/highlights/17932915078647577/

466 Justin Timberlake                  SexyBack                   westinirvingcc                https://www.instagram.com/reel/Crvpn7uMl4q/

467 Justin Timberlake                  SexyBack                   sheratondenverdowntown        https://www.instagram.com/reel/CsRysBTuAIm/

468 Justin Timberlake                  That Girl                  westindcdowntown              https://www.instagram.com/stories/westindcdowntown/

469 Kaskade                            Angel on My Shoulder       wscottsdale                   http://www.instagram.com/p/CVTV62gA3xu

470 Kaskade                            Winter Wonderland          wscottsdale                   http://www.instagram.com/p/CWrPB_CgBei

471 KAYTRANADA feat. H.E.R.            Intimidated                wlakeshore                    https://www.instagram.com/reel/Ct97BHJg16y/

472 KAYTRANADA feat. H.E.R.            Intimidated                jwmarriottclearwaterbeach     https://www.instagram.com/reel/CuFjFFNgGJC/

473 KAYTRANADA feat. H.E.R.            Intimidated                wnashville                    https://www.instagram.com/reel/CuF_J5GOKCH/

474 KAYTRANADA feat. H.E.R.            Intimidated                wlosangeles                   http://www.instagram.com/p/Cu-GK-9ObTb

475 KAYTRANADA, Charlotte Day Wilson   What You Need              jwmorlando                    https://www.instagram.com/reel/CvfDJ5iAT0p/

476 Ke$ha                              TiK ToK                    renschaumburg                 https://www.instagram.com/reel/CjtBzsLv8Lv/

477 Ke$ha                              TiK ToK                    wscottsdale                   http://www.instagram.com/p/Cm43e-2IqZa

478 Kelly Clarkson                     My Favorite Things         sfmarriottunionsquare         https://www.instagram.com/stories/highlights/17939888650963797/

479 Kelly Clarkson                     People Like Us             wboston                       https://www.instagram.com/stories/highlights/18080908780301146/

480 Kelly Clarkson                     Run Run Rudolph            gaylordnational               https://www.instagram.com/stories/highlights/17970052000768466/
                                                                                                https://scontent-lga3-2.cdninstagram.com/v/t50.12441-
481 Kelly Clarkson                     Underneath The Tree        ritzcarltonameliaisland       16/260529378_2479610295505761_296597842202502022_n.mp4?efg=eyJxZV9ncm91cHMiOiJbXCJ

482 Kelly Clarkson                     Underneath the Tree        gaylordoprylandresort         http://www.instagram.com/p/CXWWmpNAhVx

483 Kelly Clarkson                     Underneath The Tree        themarquishou                 http://www.instagram.com/p/Clb2wXGJz1s

484 Kelly Clarkson                     Underneath The Tree        moxynashvilledowntown         http://www.instagram.com/p/Cll-8ACg3Y-

485 Kelly Clarkson                     Underneath The Tree        moxynashvilledowntown         http://www.instagram.com/p/CltWOoSMpwQ

486 Kelly Clarkson                     Underneath The Tree        themarquishou                 http://www.instagram.com/p/ClzesGmMF2M

487 Kelly Clarkson                     Underneath The Tree        rentimessquare                http://www.instagram.com/p/Cl60YqjDC5t

488 Kelly Clarkson                     Underneath the Tree        themayflowerhoteldc           https://www.instagram.com/reel/CmPqTPyg4pI/

489 Kelly Clarkson                     Underneath the Tree        fairfieldinnpennstation       https://www.instagram.com/reel/CmmTpbwt7PS/

490 Kelly Clarkson                     Underneath the Tree        themarquishou                 https://www.instagram.com/reel/CyOwV87uRel/

491 Kelly Clarkson                     Underneath the Tree        wlakeshore                    https://www.instagram.com/stories/highlights/18028659733137847/

492 Kelly Clarkson                     Underneath the Tree        themayflowerhoteldc           https://www.instagram.com/reel/C0m5-mKxhqc/

493 Kelly Clarkson                     Underneath the Tree        themarquishou                 https://www.instagram.com/reel/C0qA5ZsO0Eg/

494 Kelly Clarkson                     Underneath the Tree        themarquishou                 https://www.instagram.com/reel/C0rWBCcuc59/

495 Kelly Clarkson                     Underneath the Tree        renworthington                https://www.instagram.com/stories/highlights/17870470523402016/

496 Kelly Clarkson                     Underneath the Tree        gaylordnational               http://www.instagram.com/p/C1KIxdeOqpl

497 Kenny Chesney                      Life Is Good               renworthington                https://www.instagram.com/reel/CpS6mnpqnCu/

498 Kenny Chesney                      Summertime                 gaylordoprylandresort         https://www.instagram.com/stories/highlights/17890183891434808/




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     SME Artist                          SME Track                         Social Media Account            Content URL

499 Kenny Chesney                        Summertime                        ritzcarltonreynoldslakeoconee   https://www.instagram.com/stories/highlights/17886530989252684/

500 Kenny Loggins                        Danger Zone                       westinstfr                      http://www.instagram.com/p/Cx6dEjFLMnS
                                                                                                           https://scontent-lga3-
501 Khalid                               Better                            themarquishou                   2.cdninstagram.com/o1/v/t16/f1/m51/AD492EC29ACC71D83E053758B4D0BAA0_video_dashinit.m

502 Khalid                               Saturday Nights                   thenotaryhotel                  https://www.instagram.com/stories/highlights/18019634845218791/

503 Khalid with John Mayer               Outta My Head                     jwmarcoisland                   http://www.instagram.com/p/CqD6xj5Ds1L

504 Kygo                                 Carry On                          sheratondenverdowntown          https://www.instagram.com/stories/highlights/17907542546102826/
                                                                                                           https://scontent-lga3-
505 Kygo                                 Happy Birthday                    themarquishou                   2.cdninstagram.com/o1/v/t16/f1/m51/EB497D429CCE4BC800B007267B2B08B0_video_dashinit.mp

506 Kygo                                 Here for You                      sheratondenverdowntown          https://www.instagram.com/stories/highlights/17907542546102826/

507 Kygo                                 ID                                lido_house                      https://www.instagram.com/stories/highlights/17953608400052628/

508 Kygo                                 Sunrise (ft. Jason Walker)        ritzcarltonreynoldslakeoconee   https://www.instagram.com/stories/highlights/18196161142053589/

509 Kygo & Whitney Houston               Higher Love                       lido_house                      https://www.instagram.com/stories/highlights/17916019544738285/

510 Kygo, Sandro Cavazza                 Beautiful                         residenceinnmiamiaventura       https://www.instagram.com/stories/highlights/17994968323061149/

511 Kygo, Sandro Cavazza                 Beautiful                         residenceinnmiamiaventura       https://www.instagram.com/stories/highlights/17994968323061149/

512 La Bouche                            Be My Lover                       wlosangeles                     http://www.instagram.com/p/CoveOxgrhYp

513 Labrinth                             Forever                           sheratoneatontown               http://www.instagram.com/p/CpgV8nJSiMb

514 Labrinth                             Still Don't Know My Name          jwdesertridge                   https://www.instagram.com/stories/highlights/17940406256080133/

515 Labrinth                             The Feels                         gaylordtexan                    https://www.instagram.com/stories/highlights/18018852620006905/

516 Labrinth                             The Feels                         renaustinhotel                  https://www.instagram.com/reel/CygYRMNO6cw/

517 Labrinth                             The Feels                         marriottriverwalk               https://www.instagram.com/reel/C1i-RXQMQra/

518 Latto                                Big Energy                        sheratonbham                    http://www.instagram.com/p/Cak4vrHN7r_

519 Latto                                Big Energy                        RitzCarltonNewOrleans           http://www.facebook.com/RitzCarltonNewOrleans/videos/1191545961651863/

520 Latto                                Big Energy                        gaylordnational                 https://www.instagram.com/stories/highlights/17910346244376301/

521 Latto                                Lottery                           wmiamihotel                     https://www.instagram.com/stories/highlights/18117690043181805/

522 Latto feat. LU KALA                  Lottery                           wmiamihotel                     http://www.instagram.com/p/Crbnb1DsaE3

523 Latto, Lil Wayne, Childish Gambino   Sunshine                          watldowntown                    https://www.instagram.com/stories/highlights/17899941062581732/

524 Lauryn Hill                          Can't Take My Eyes Off You        wfortlauderdale                 https://www.instagram.com/stories/highlights/17909988421460754/

525 Lil Nas X                            THAT’S WHAT I WANT                themayflowerhoteldc             https://www.instagram.com/reel/Cb-02UdAUbZ/

526 Los Inhumanos                        Oe, Oe, Oe                        marriotthotels                  https://www.instagram.com/stories/highlights/17965638926614652/

527 Lost Frequencies                     Chemical High                     thewestinmaui                   https://www.instagram.com/stories/thewestinmaui/3078128760441031048

528 Lost Frequencies                     The Feeling                       montereymarriott                https://www.instagram.com/reel/C33eMo1MqUm/

529 Lost Frequencies, David Kushner      In My Bones                       rentimessquare                  https://www.instagram.com/reel/C6hacpGu18U/

530 Lost Frequencies, David Kushner      In My Bones                       ritzcarltonkapalua              https://www.instagram.com/stories/ritzcarltonkapalua/3359571270147196670/

531 Love Inc., Simone Denny              You're a Superstar (Radio Edit)   marriottcareers                 https://www.instagram.com/stories/marriottcareers/3104302064661241075

532 Luke Combs                           Beautiful Crazy                   sanantoniomarriott              https://www.instagram.com/stories/sanantoniomarriott/

533 Luke Combs                           Houston, We Got a Problem         sanantoniomarriott              https://www.instagram.com/reel/C61tMXJNA7s/

534 Madison Beer                         Make You Mine                     irvinemarriott                  https://www.instagram.com/stories/highlights/17951747752578212/

535 Madison Beer                         Make You Mine                     rentimessquare                  https://www.instagram.com/reel/C4JZkz-uiIH/

536 Madison Beer                         Make You Mine                     lido_house                      https://www.instagram.com/stories/highlights/18044081263662359/

537 Mae Valley                           Glitter                           stregishouston                  https://www.instagram.com/stories/highlights/17993406217871970/

538 Maneskin                             Beggin                            wmiamihotel                     https://www.instagram.com/stories/highlights/17962887307270097

539 Maren Morris                         The Bones                         gaylordoprylandresort           https://www.instagram.com/stories/gaylordoprylandresort/3085101742732391558
                                                                                                           https://scontent-lga3-2.cdninstagram.com/v/t50.12441-
540 Mariah Carey                         All I Want For Christmas Is You   themarquishou                   16/257270816_3122118274777643_8555453278535596672_n.mp4?efg=eyJ2ZW5jb2RlX3RhZyI6InZ

541 Mariah Carey                         All I Want For Christmas Is You   gaylordnational                 https://www.instagram.com/stories/highlights/17850638900619704/

542 Mariah Carey                         All I Want for Christmas Is You   thewestinmaui                   http://www.instagram.com/p/CXOyUj4FTDM

543 Mariah Carey                         All I Want For Christmas Is You   aloft_boston                    http://www.instagram.com/p/CXRHUszv5Ni

544 Mariah Carey                         All I Want for Christmas Is You   jwmarriottchi                   https://www.instagram.com/stories/highlights/17948010680218311/

545 Mariah Carey                         All I Want For Christmas Is You   ritzcarltoncharlotte            http://www.instagram.com/p/ClRMfKzJV4T
                                                                                                           https://scontent-lga3-
546 Mariah Carey                         All I Want For Christmas Is You   ritzcarltonameliaisland         2.cdninstagram.com/o1/v/t16/f1/m78/EA490306B59B89BC6B9C988CADC92EAA_video_dashinit.mp

547 Mariah Carey                         All I Want For Christmas Is You   ritzcarltonnycentralpark        http://www.instagram.com/p/ClV_dR1JRU9

548 Mariah Carey                         All I Want For Christmas Is You   themarquishou                   http://www.instagram.com/p/ClkAsyFsDHM

549 Mariah Carey                         All I Want for Christmas Is You   ritzcarltonphiladelphia         http://www.instagram.com/p/Clldwi8rdIW
                                                                                                           https://scontent-lga3-
550 Mariah Carey                         All I Want For Christmas Is You   ritzcarltongeorgetown           2.cdninstagram.com/o1/v/t16/f1/m78/7542C6396BF419E30DAC504269906894_video_dashinit.mp4

551 Mariah Carey                         All I Want for Christmas Is You   fairfieldinnpennstation         https://www.instagram.com/reel/Cl1ithFtI6N/

552 Mariah Carey                         All I Want For Christmas Is You   ritzcarltonphiladelphia         http://www.instagram.com/p/Cl6EVijPlf4

553 Mariah Carey                         All I Want for Christmas is You   sanantoniomarriott              https://www.instagram.com/reel/CmK8k41s6s8/




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     SME Artist                               SME Track                                       Social Media Account        Content URL

554 Mariah Carey                              All I Want for Christmas is You                 marriottriverwalk           https://www.instagram.com/reel/CmNTonLsS1L/

555 Mariah Carey                              All I Want for Christmas is You                 marriottriverwalk           https://www.instagram.com/reel/CmVI42uMaUx/

556 Mariah Carey                              All I Want For Christmas Is You                 themarquishou               http://www.instagram.com/p/CmXgmkvsaKP

557 Mariah Carey                              All I Want for Christmas is You                 westchester_marriott        https://www.instagram.com/reel/CmafqnItr7A/

558 Mariah Carey                              All I Want For Christmas Is You                 gaylordnational             http://www.instagram.com/p/Cz7Hjxnvrz1

559 Mariah Carey                              All I Want for Christmas Is You                 jwsanantonio                https://www.instagram.com/reel/C0U7i1XOWfm/

560 Mariah Carey                              All I Want for Christmas Is You                 themayflowerhoteldc         https://www.instagram.com/reel/C0m5-mKxhqc/

561 Mariah Carey                              All I Want for Christmas Is You                 themarquishou               https://www.instagram.com/reel/C0qA5ZsO0Eg/

562 Mariah Carey                              All I Want for Christmas Is You                 themarquishou               https://www.instagram.com/reel/C0rWBCcuc59/

563 Mariah Carey                              All I Want for Christmas Is You                 westinstfr                  http://www.instagram.com/p/C0p2V6IJmuN

564 Mariah Carey                              All I Want for Christmas Is You                 westinstfr                  https://www.instagram.com/stories/highlights/18040072210219760/

565 Mariah Carey                              All I Want for Christmas Is You                 themarquishou               https://www.instagram.com/reel/C1HspB4OsbI/

566 Mariah Carey                              All I Want for Christmas Is You                 sheratoneatontown           http://www.instagram.com/p/C1df4A0toiu

567 Mariah Carey                              Christmas (Baby Please Come Home)               sheratonpk                  http://www.facebook.com/SheratonPrincessKaiulani/videos/2393331064315063/

568 Mariah Carey                              Fantasy                                         wscottsdale                 https://www.instagram.com/reel/C4vogHuxBy3/

569 Mark Ronson feat. Amy Winehouse           Valerie                                         ritzcarltonlagunaniguel     http://www.instagram.com/p/CpAf5iSgokv

570 Martin Garrix                             High On Life                                    sheratoneatontown           http://www.instagram.com/p/CnVcLQUBhiX

571 Martin Garrix                             High On Life (ft. Bonn)                         ritzcarltonorlando          https://www.instagram.com/stories/highlights/18317281615140454/

572 Martin Garrix feat. Khalid                Ocean                                           wfortlauderdale             http://www.instagram.com/p/CrRATQZAAiT
                                              Summer Days (feat. Macklemore & Patrick Stump
573 Martin Garrix, Macklemore, Fall Out Boy   of Fall Out Boy)                                waustin                     https://www.instagram.com/stories/waustin/3095523471917189258
                                              Summer Days (feat. Macklemore & Patrick Stump
574 Martin Garrix, Macklemore, Fall Out Boy   of Fall Out Boy)                                irvinemarriott              https://www.instagram.com/stories/highlights/17934593668803315/

575 Matthew Wilder                            Break My Stride                                 westinstfr                  https://www.instagram.com/stories/highlights/17912538602714611/

576 McFadden & Whitehead                      Ain't No Stoppin' Us Now                        ritzcarltontysonscorner     https://www.instagram.com/stories/highlights/17885340349850033/

577 Meghan Trainor                            Don't I Make It Look Easy                       jwbonnetcreek               https://www.instagram.com/reel/CxGf88aqZIM/

578 Meghan Trainor                            It's Beginning To Look A Lot Like Christmas     themarquishou               http://www.instagram.com/p/C0plHvaOz-K

579 Meghan Trainor                            Made You Look                                   moxynashvilledowntown       http://www.instagram.com/p/Ck1B-sUAS_c

580 Meghan Trainor                            Made You Look                                   swandolphin                 https://www.instagram.com/reel/Ck_BLm5PrIM/

581 Meghan Trainor                            Made You Look                                   westindallasdowntown        https://www.instagram.com/stories/highlights/17891374919536877/

582 Meghan Trainor                            Made You Look                                   themayflowerhoteldc         https://www.instagram.com/reel/CoKsEXTAzTK/

583 Meghan Trainor                            Made You Look                                   wmiamihotel                 https://www.instagram.com/stories/wmiamihotel/3057625940617897195

584 Meghan Trainor                            Me Too                                          gaylordrockies              https://www.instagram.com/stories/highlights/18030995986038809/

585 Meghan Trainor                            Mom                                             moxytimessquare             https://www.instagram.com/reel/C5y3UtCxpU9/

586 Meghan Trainor                            Mother                                          moxytimessquare             https://www.instagram.com/reel/C6eaRbOukGs/

587 Meghan Trainor                            Treat Myself                                    wboston                     https://www.instagram.com/stories/highlights/18080908780301146/

588 Meghan Trainor                            Treat Myself                                    gaylordrockies              https://www.instagram.com/stories/highlights/17864674165319623/

589 Meghan Trainor                            Treat Myself                                    lido_house                  https://www.instagram.com/stories/lido_house/3362304866834486732/

590 MGMT                                      Electric Feel                                   moxynashvilledowntown       https://www.instagram.com/reel/C1sJrkyOFzw/

591 Michael Jackson                           Billie Jean                                     wfortlauderdale             https://www.instagram.com/reel/C4qAfY_L_bl/

592 Michael Jackson                           Rock With You                                   ritzcarltonameliaisland     https://www.instagram.com/p/C308gmCLdDD/

593 Michael Jackson                           Rock With You                                   wscottsdale                 https://www.instagram.com/reel/C36NMWxvp19/

594 Michael Jackson                           Rock With You                                   marquis_chicago             https://www.instagram.com/reel/C38TmXXPiYk/

595 Michael Jackson                           Rock With You                                   sheratonkauai               https://www.instagram.com/reel/C4G_9hdPd4_/

596 Michael Jackson                           Rock With You                                   newyorkmarriottmarquis      https://www.instagram.com/reel/C4VX8EkOJST/

597 Michael Jackson                           Rock With You                                   marriottriverwalk           https://www.instagram.com/reel/C4tBRDvpTRj/

598 Michael Jackson                           Rock With You                                   ritzcarltonphiladelphia     https://www.instagram.com/p/C40VNz3rxBF/

599 Michael Jackson                           Rock With You                                   moxynashvilledowntown       https://www.instagram.com/reel/C56MgOdOI-q/

600 Michael Jackson                           Thriller                                        residenceinnmiamiaventura   http://www.instagram.com/p/CkYsu8Rrb7S

601 Miguel                                    Girl With the Tattoo Enter.lewd                 sheratondenverdowntown      https://www.instagram.com/reel/Cri1VWysj9s/

602 Miguel                                    Sure Thing                                      whollywood                  http://www.instagram.com/p/Cnfsfv-oL_D

603 Miguel                                    Sure Thing                                      moxynashvilledowntown       http://www.instagram.com/p/CpDspRCOM48

604 Miguel                                    Sure Thing                                      gaylordoprylandresort       https://www.instagram.com/stories/highlights/17998674307453979/

605 Miguel                                    Sure Thing                                      gaylordoprylandresort       https://www.instagram.com/stories/highlights/17998674307453979/

606 Miley Cyrus                               Flowers                                         wmiamihotel                 http://www.instagram.com/p/Cn5EMHdDxxj

607 Miley Cyrus                               Flowers                                         gaylordoprylandresort       https://www.instagram.com/stories/highlights/17896887548681163/

608 Miley Cyrus                               Flowers                                         waustin                     http://www.instagram.com/p/Co-HhJLjnAe




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     SME Artist            SME Track                            Social Media Account           Content URL

609 Miley Cyrus            Flowers                              jwbuckhead                     https://www.instagram.com/stories/highlights/17867414795861862/

610 Miley Cyrus            Flowers                              jwmarriottanaheim              https://www.instagram.com/stories/highlights/17861166119674432/

611 Miley Cyrus            Flowers                              ritzcarltonphiladelphia        https://www.instagram.com/stories/ritzcarltonphiladelphia/3068414085972310096

612 Miley Cyrus            Flowers                              westinstfr                     https://www.instagram.com/stories/westinstfr/3074634254726604564

613 Miley Cyrus            Flowers                              ritzcarltonpentagoncity        https://www.instagram.com/reel/CrB076AvALs/

614 Miley Cyrus            Flowers                              jwbuckhead                     https://www.instagram.com/stories/highlights/17867414795861862/

615 Miley Cyrus            Flowers                              renworthington                 https://www.instagram.com/reel/CrTSZQ3qujY/

616 Miley Cyrus            Flowers                              westinstfr                     https://www.instagram.com/stories/highlights/17939283689689773/

617 Miley Cyrus            Flowers                              westinstfr                     https://www.instagram.com/stories/westinstfr/3119283414343907822

618 Miley Cyrus            Flowers                              moxynashvilledowntown          https://www.instagram.com/reel/CtPBkLfgchb/

619 Miley Cyrus            Flowers                              westinstfr                     https://www.instagram.com/stories/westinstfr/3130801713849806586

620 Miley Cyrus            Flowers                              westinstfr                     https://www.instagram.com/stories/highlights/17939283689689773/

621 Miley Cyrus            Flowers                              westinstfr                     https://www.instagram.com/stories/highlights/17939283689689773/

622 Miley Cyrus            Flowers                              westinstfr                     https://www.instagram.com/p/C4UDYYov-45/

623 Miley Cyrus            Midnight Sky                         wlosangeles                    http://www.instagram.com/p/CoMQLKqpCow

624 Miley Cyrus            Plastic Hearts                       ritzcarltonorlando             http://www.instagram.com/p/CZ5mxTHPRo_

625 Miley Cyrus            Sleigh Ride                          swandolphin                    https://www.instagram.com/reel/C0zijZDOyWK/

626 MK xyz                 One Time                             rentampa                       https://www.instagram.com/stories/highlights/17917051876353997/

627 MKTO                   Classic                              sheratongrandla                https://www.instagram.com/reel/Cvciw9zMX6s/

628 MO                     Final Song                           ritzcarltoncharlotte           https://www.instagram.com/stories/highlights/18125643109330630/

629 MO, Diplo              Sun In Our Eyes                      westindcdowntown               https://www.instagram.com/stories/highlights/17862010739983812/

630 MO, Diplo              Sun In Our Eyes                      theritzcarltonfortlauderdale   https://www.instagram.com/stories/theritzcarltonfortlauderdale/3357886330728694751

631 MO, Diplo              Sun In Our Eyes                      wsouthbeach                    https://www.instagram.com/stories/wsouthbeach/

632 MO, Diplo              Sun In Our Eyes                      innatthemissionsjc             https://www.instagram.com/stories/innatthemissionsjc/3364401751263016307/

633 Mobb Deep              Quiet Storm                          watldowntown                   https://www.instagram.com/stories/highlights/17899941062581732/

634 Mount Hayes            Isn't She Lovely                     westinstfr                     https://www.instagram.com/stories/westinstfr/3095646006380988391

635 Mount Hayes            Isn't She Lovely                     westinstfr                     https://www.instagram.com/stories/highlights/17939283689689773/

636 Mount Hayes            Isn't She Lovely                     westinstfr                     https://www.instagram.com/stories/highlights/17939283689689773/

637 MÖWE feat. Emy Perez   Down By The River                    westinsavannah                 https://www.instagram.com/stories/westinsavannah/3077978738158441822

638 Nas                    If I ruled the World                 gaylordrockies                 https://www.instagram.com/stories/highlights/17869240172446639/

639 Nas                    The World Is Yours                   anaheimmarriott                https://www.instagram.com/stories/anaheimmarriott/3044952896757099684

640 Natalia Lafourcade     En El 2000                           wcitycenter                    https://www.instagram.com/stories/wcitycenter/

641 Natalie Taylor         Surrender                            marriottwaikiki                https://www.instagram.com/stories/highlights/17912390846751519/

642 Natasha Bedingfield    These Words                          westinnashville                https://www.instagram.com/reel/C6zWbsyPFMm/

643 Natasha Bedingfield    Unwritten                            wboston                        https://www.instagram.com/stories/highlights/17913619544525867/

644 Natasha Bedingfield    Unwritten                            jwbonnetcreek                  https://www.instagram.com/reel/CxyDzbDK2y1/

645 Natasha Bedingfield    Unwritten                            wfortlauderdale                https://www.instagram.com/reel/C35VaFIOdZb

646 Natasha Bedingfield    Unwritten                            rendallashotel                 https://www.instagram.com/reel/C4d3P5pPgXX/

647 Natasha Bedingfield    Unwritten                            sheratongrandla                https://www.instagram.com/reel/C5O2Ii3JRLf/

648 Nate Smith             Here's To Hometowns                  ritzcarltonsanfrancisco        https://www.instagram.com/stories/ritzcarltonsanfrancisco/3359836655831656015/

649 Nelly                  Lil Bit (ft. Florida Georgia Line)   gaylordoprylandresort          https://www.instagram.com/stories/highlights/17891728964239933/

650 Nicky Jam              Miami                                residenceinnmiamiaventura      https://www.instagram.com/stories/highlights/17994968323061149/

651 Nicky Jam, Beele       Calor                                marriottriverwalk              https://www.instagram.com/reel/C69UpzyPKmV/

652 Nicky Youre & dazy     Sunroof                              camelbackinn                   http://www.facebook.com/camelbackinn/videos/387150149933940/

653 Nicky Youre & dazy     Sunroof                              SheratonLakeBuenaVistaResort   http://www.facebook.com/SheratonLakeBuenaVistaResort/videos/642109974168474/

654 Nicky Youre & dazy     Sunroof                              SeattleMarriottWaterfront      http://www.facebook.com/SeattleMarriottWaterfront/videos/968391621272270/

655 Nicky Youre & dazy     Sunroof                              courtyardmarketsquare          https://www.instagram.com/reel/CuGBmVDgwHo/

656 Nicky Youre & dazy     Sunroof                              renworthington                 https://www.instagram.com/reel/Cu4zst7oCCJ/

657 Odyssey                Native New Yorker                    algonquinnyc                   https://www.instagram.com/stories/highlights/17961639986532152/

658 Olly Murs              Dance with Me Tonight                sheratoneatontown              http://www.instagram.com/p/CXwokLZArt8

659 Omi                    Cheerleader (Felix Jaehn Remix)      westindallasdowntown           https://www.instagram.com/stories/highlights/17953659890076568/

660 One Direction          Night Changes                        ritzcarltongeorgetown          http://www.instagram.com/p/Cf9JNaxDwBy

661 One Direction          Story of My Life                     moxynashvilledowntown          https://www.instagram.com/reel/CtcRRlnvEsq/

662 One Direction          Story of My Life                     gaylordtexan                   https://www.instagram.com/stories/highlights/18018852620006905/

663 Outkast                Hey Ya!                              marriotthotels                 https://www.instagram.com/stories/highlights/17965638926614652/




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     SME Artist                           SME Track                                      Social Media Account        Content URL

664 Outkast                               Ms. Jackson                                    wseattle                    https://www.instagram.com/stories/highlights/17963297422045297/

665 Outkast                               Ms. Jackson                                    jwlalive                    https://www.instagram.com/reel/CylvADNMso9/

666 P!nk                                  Cover Me In Sunshine                           westinstfr                  https://www.instagram.com/stories/highlights/18040072210219760/

667 P!nk                                  Raise Your Glass                               stregissf                   https://www.instagram.com/stories/highlights/18166950478219869/

668 P!nk                                  Raise Your Glass                               aloft_boston                https://www.instagram.com/stories/aloft_boston/3339675440795843970/

669 P!nk Willow Sage Hart                 Cover Me In Sunshine                           wboston                     https://www.instagram.com/stories/highlights/18080908780301146/

670 Paloma Faith                          Only Love Can Hurt Like This                   swanreserve                 https://www.instagram.com/reel/C0mJSRlL7rV/

671 Party Favor                           Paradise                                       moxynooga                   https://www.instagram.com/stories/moxynooga/3368707422624360622/

672 Paul Russell                          Lil Boo Thang                                  moxynashvilledowntown       http://www.instagram.com/p/CviQn1fOe6V

673 Paul Russell                          Lil Boo Thang                                  gaylordrockies              http://www.instagram.com/p/Cv5ZQt0tzh1

674 Paul Russell                          Lil Boo Thang                                  innatthemissionsjc          https://www.instagram.com/reel/Cwa5hWmpgwx/

675 Paul Russell                          Lil Boo Thang                                  swandolphin                 https://www.instagram.com/reel/CxGe0gmOm21/

676 Paul Russell                          Lil Boo Thang                                  orlandoworldcenter          https://www.instagram.com/reel/CxLXYoEqWRK/

677 Paul Russell                          Lil Boo Thang                                  westindallasdowntown        https://www.instagram.com/stories/highlights/17942214808480117/

678 Paul Russell                          Lil Boo Thang                                  wfortlauderdale             https://www.instagram.com/reel/CyGnf0iNqg8

679 Paul Russell                          Lil Boo Thang                                  westindcdowntown            https://www.instagram.com/stories/highlights/17862010739983812/

680 Paul Russell                          Lil Boo Thang                                  moxy_ac_losangeles          https://www.instagram.com/reel/Cw73TZxLLM7/

681 Paul Russell                          Lil Boo Thang                                  sonestaselectsanramon       https://www.instagram.com/reel/CwUCazBuBro/

682 Peder Elias, Hkeem                    Loving You Girl                                jwbonnetcreek               https://www.instagram.com/reel/Ct_5ZrNqsoU/

683 Pentatonix                            Sleigh Ride                                    themarquishou               http://www.instagram.com/p/CJG_LDqJ3TU

684 Pentatonix                            Sleigh Ride                                    themarquishou               http://www.facebook.com/MarriottMarquisHouston/videos/261143009294606/

685 Percy Faith                           The Theme from "A Summer Place" - Single Version sheratondenverdowntown    https://www.instagram.com/reel/CunCz6yvKyS/

686 Pharrell Williams                     Happy                                          gaylordnational             https://www.instagram.com/stories/highlights/17891611058557112/

687 Pharrell Williams                     Happy                                          westindallasdowntown        https://www.instagram.com/stories/highlights/17953659890076568/

688 Pharrell Williams                     Happy                                          anaheimcourtyard            https://www.instagram.com/stories/highlights/18012649417187343/

689 Pharrell Williams                     Happy                                          residenceinnmiamiaventura   http://www.instagram.com/p/C0VkxmluBkh

690 Pitbull                               Back in Time                                   ritzcarltonhmb              https://www.instagram.com/stories/highlights/17849237601137221/

691 Pitbull                               Give Me Everything                             renschaumburg               https://www.instagram.com/reel/CjtBzsLv8Lv/

692 Pitbull                               Give Me Everything                             jwmorlando                  https://www.instagram.com/reel/Cx8nAvlRZZ2/

693 Pitbull                               Hotel Room Service                             moxynashvilledowntown       http://www.instagram.com/p/Ci3CEnSg0vv

694 Pitbull                               Hotel Room Service                             rentimessquare              http://www.instagram.com/p/CmwshmdogAb

695 Pitbull                               Hotel Room Service                             moxynashvilledowntown       http://www.instagram.com/p/Cnm9RK7oPqx

696 Pitbull                               Hotel Room Service                             sheratoneatontown           https://www.instagram.com/reel/Covhz97O3r7/

697 Pitbull                               Hotel Room Service                             ritzcarltonameliaisland     http://www.instagram.com/p/Cyq2QL9rgXN

698 Pitbull                               International Love (ft. Chris Brown)           sheratontimessq             https://www.instagram.com/reel/CnPTOPiM2Ab/

699 Pitbull                               We Are One (Ole Ola)                           moxynashvilledowntown       https://www.instagram.com/reel/CtcRRlnvEsq/

700 Pitbull                               We Are One (Ole Ola)                           gaylordtexan                https://www.instagram.com/stories/highlights/18018852620006905/

701 Pitbull ft. Ne-Yo, Afrojack & Nayer   Give Me Everything                             wscottsdale                 http://www.instagram.com/p/Cm43e-2IqZa

702 Pitbull, Ne-Yo                        Time of Our Lives                              gaylordtexan                https://www.instagram.com/stories/highlights/18005184937779713/

703 Powfu                                 death bed (coffee for your head)               ritzcarltonameliaisland     https://www.instagram.com/stories/highlights/17930178067629103/

704 Prince                                Pop Life                                       wminneapolis                https://www.instagram.com/stories/highlights/17910143438549326/

705 R. Kelly                              Ignition                                       aloftprovidencedowntown     https://www.instagram.com/stories/aloftprovidencedowntown/

706 Rauw Alejandro                        Tamo en Nota                                   theclancysf                 https://www.instagram.com/reel/Cr8yOnDKOVR/

707 RealestK                              WFM                                            marriottwaterstreet         https://www.instagram.com/reel/CZ7amXSJdWw/

708 Redbone                               Come and Get Your Love                         ritzcarltoncoconutgrove     https://www.instagram.com/stories/highlights/17961340264892307/

709 Redbone                               Come And Get Your Love                         jwbonnetcreek               https://www.instagram.com/stories/highlights/18270695719050088/

710 Redbone                               Come And Get Your Love                         jwbonnetcreek               https://www.instagram.com/stories/highlights/18270695719050088/

711 Redbone                               Come And Get Your Love                         gaylordoprylandresort       https://www.instagram.com/stories/highlights/17998674307453979/

712 Regard                                Ride It                                        renorlandohotel             https://www.instagram.com/reel/CpDYnPDq8wH/

713 Rick Derringer                        Real American                                  residenceinn.ocmd           http://www.instagram.com/p/CflqQ72liIQ

714 Rosa Linn                             SNAP                                           westinstfr                  http://www.instagram.com/p/ClAK6pZPCdi

715 Rosa Linn                             SNAP                                           innatthemissionsjc          https://www.instagram.com/reel/CvRAOSosTfv/

716 Rosa Linn                             SNAP                                           jwdesertridge               https://www.instagram.com/reel/CvSsjmUNGZH/

717 ROSALÍA                               DESPECHA                                       residenceinnmiamiaventura   https://www.instagram.com/stories/highlights/18019923523135401/

718 ROSALÍA & Rauw Alejandro              BESO                                           wmiamihotel                 https://www.instagram.com/stories/wmiamihotel/3165628097218055920




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     SME Artist                SME Track                                        Social Media Account       Content URL

719 Roy Orbison                Oh, Pretty Woman                                 innatthemissionsjc         https://www.instagram.com/reel/CoLDJ3JPeU3/

720 Roy Orbison                Oh, Pretty Woman                                 sheratonwaikiki            http://www.instagram.com/p/CoX1bGegmNf

721 Ruth B.                    Dandelions (slowed + reverb)                     camelbackinn               http://www.facebook.com/camelbackinn/videos/956109001709407/
                                                                                                           https://scontent-lga3-2.cdninstagram.com/v/t50.12441-
722 Ruth B.                    Dandelions (slowed + reverb)                     ritzcarltonameliaisland    16/279162357_1047762909161076_6353885836655984370_n.mp4?efg=eyJxZV9ncm91cHMiOiJbXC

723 Ruth B.                    Dandelions (slowed + reverb)                     ritzcarltonkapalua         https://www.instagram.com/stories/highlights/18067432120374453/
                                                                                                           https://scontent-lga3-
724 Ruth B.                    Lost Boy                                         themarquishou              2.cdninstagram.com/o1/v/t16/f1/m51/3F4B9DF45CE03D2831A6D357BFDEA5B4_video_dashinit.mp

725 Sade                       Cherish The Day                                  wfortlauderdale            https://www.instagram.com/stories/wfortlauderdale/3346819042172990483

726 Sade                       Is It A Crime                                    rentimessquare             https://www.instagram.com/p/C2vNU0xuOcs/

727 Sade                       Is It a Crime                                    wboston                    https://www.instagram.com/stories/highlights/18298434025196159/

728 Sade                       Is It a Crime                                    ritzcarltonhmb             https://www.instagram.com/stories/highlights/17904189440937993/

729 Sade                       Is It A Crime                                    marriottwaterstreet        https://www.instagram.com/reel/C3-rjr_RbBF/

730 Sade                       Is It A Crime                                    jwlalive                   https://www.instagram.com/reel/C51N0htLb-m/

731 Sade                       Kiss of Life                                     phoenicianscottsdale       https://www.instagram.com/stories/highlights/17992360160235927/

732 Sade                       Kiss of Life                                     jwbonnetcreek              https://www.instagram.com/stories/highlights/18270695719050088/

733 Sade                       Kiss of Life                                     rennewportbeach            https://www.instagram.com/reel/C4OXMxxPhXU/

734 Sade                       Kiss of Life                                     Whotels                    https://www.instagram.com/stories/highlights/18027605584490465/

735 Sade                       Smooth Operator                                  sheratonkauai              https://www.instagram.com/reel/CtVzf1AASAW/

736 Sade                       Smooth Operator                                  wmiamihotel                https://www.instagram.com/reel/Ct2SrUYgiFe

737 Sade                       Smooth Operator                                  rennewportbeach            https://www.instagram.com/reel/CukWPC7pq8K/

738 Sade                       Smooth Operator                                  westingalleriadallas       https://www.instagram.com/reel/CvflywbOAaV/

739 Sade                       Smooth Operator                                  SheratonGrandChicago       https://www.instagram.com/reel/C5_P1XzLQbe/

740 Sade                       Smooth Operator                                  algonquinnyc               https://www.instagram.com/reel/CwGM4qRgby8/

741 Samuel Jack                Feels Like Summer                                gaylordoprylandresort      https://www.instagram.com/stories/highlights/17890183891434808/

742 Samuel Jack                Feels Like Summer                                gaylordoprylandresort      https://www.instagram.com/stories/highlights/17890183891434808/

743 Samuel Jack                Feels Like Summer                                innatthemissionsjc         https://www.instagram.com/stories/highlights/17853525215227769/

744 Samuel Jack                Feels Like Summer                                gaylordoprylandresort      https://www.instagram.com/stories/highlights/17890183891434808/

745 Samuel Jack                Feels Like Summer                                elementphiladelphia        https://www.instagram.com/stories/highlights/17915838736702988/

746 Samuel Jack                Feels Like Summer                                jwsanantonio               https://www.instagram.com/stories/highlights/17903608783310849/

747 Samuel Jack                Feels Like Summer                                gaylordnational            https://www.instagram.com/stories/highlights/17891611058557112/

748 Samuel Jack                Feels Like Summer                                wmiamihotel                http://www.instagram.com/p/CfouiAEATpE

749 Samuel Jack                Feels Like Summer                                jwdesertridge              https://www.instagram.com/stories/jwdesertridge/3084728254014582531

750 Samuel Jack                Feels Like Summer                                swandolphin                https://www.instagram.com/reel/CsTjOe7vRrf/

751 Samuel Jack                Feels Like Summer                                gaylordtexan               https://www.instagram.com/stories/highlights/18005184937779713/

752 Samuel Jack                Feels Like Summer                                wscottsdale                https://www.instagram.com/stories/wscottsdale/3120199186184694866

753 Samuel Jack                Feels Like Summer                                gaylordoprylandresort      https://www.instagram.com/stories/gaylordoprylandresort/3134010437914294538

754 Samuel Jack                Feels Like Summer                                wbellevue                  https://www.instagram.com/stories/highlights/17995507312201041/

755 Samuel Jack                Feels Like Summer                                jwbonnetcreek              https://www.instagram.com/stories/highlights/18270695719050088/

756 Samuel Jack                Feels Like Summer                                swandolphin                https://www.instagram.com/stories/highlights/17859498980995398/

757 Samuel Jack                Feels Like Summer                                swanreserve                https://www.instagram.com/reel/CzWaF_yLtn4/

758 Samuel Jack                Feels Like Summer                                thewestinmaui              https://www.instagram.com/stories/thewestinmaui/

759 Samuel Jack                Feels Like Summer                                ritzcarltonbachelorgulch   https://www.instagram.com/stories/highlights/17855061503788443/

760 Santana                    Maria Maria                                      aloftprovidencedowntown    https://www.instagram.com/stories/highlights/18192324289151429/
                               San Francisco (Be Sure to Wear Some Flowers In
761 Scott McKenzie             Your Hair)                                       palacehotelsf              https://www.instagram.com/reel/CZ2LvpajWOw/

762 Shakira                    Acróstico                                        gaylordoprylandresort      https://www.instagram.com/stories/gaylordoprylandresort/3149216162339768271

763 Sigala                     Feels this Good                                  marriottwaterstreet        https://www.instagram.com/reel/CzY6spatV-n/

764 Silk City, Dua Lipa        Electricity                                      thewestincrowncenter       http://www.facebook.com/thewestincrowncenter/videos/2896530957311272/

765 Skee-Lo                    I Wish                                           moxynashvilledowntown      http://www.instagram.com/p/CosoYLgOT-l
                                                                                                           https://scontent-lga3-2.cdninstagram.com/v/t50.12441-
766 Sly and the Family Stone   If You Want Me To Stay                           ritzcarltonameliaisland    16/275062079_480817026854711_1156983321098337636_n.mp4?efg=eyJxZV9ncm91cHMiOiJbXCJ

767 Sparky Deathcamp           September                                        sheratongrandaz            https://www.instagram.com/reel/CmZhYu7JrOI/

768 Steve Lacy                 Bad Habit                                        theclancysf                https://www.instagram.com/reel/CpQ2BEOvN3h/

769 Switch Disco               Everything                                       westindallasdowntown       https://www.instagram.com/stories/highlights/17953659890076568/

770 SZA                        Good Days                                        thewestinmaui              https://www.instagram.com/stories/thewestinmaui/3067165255860774752

771 SZA                        Good Days                                        westincopleyplaceboston    https://www.instagram.com/stories/highlights/17979453629144341/

772 SZA                        Good Days                                        ritzcarltonsanfrancisco    https://www.instagram.com/stories/highlights/17842635914933770/

773 SZA                        Good Days                                        stregischicago             https://www.instagram.com/reel/C3Q2MmmPfCL/




                                                                                                 14
     SME Artist                                 SME Track                           Social Media Account        Content URL
                                                                                                                https://scontent-lga3-
774 SZA                                         Kill Bill (Instrumental)            wseattle                    2.cdninstagram.com/o1/v/t16/f1/m78/FE493D52DDC755A6405BB099FAC351BB_video_dashinit.mp

775 SZA                                         Saturn                              westinstfr                  https://www.instagram.com/p/C4V_y-DyqcC/

776 SZA                                         Saturn                              royal_hawaiian              https://www.instagram.com/reel/C41enSIybG1/

777 SZA                                         Saturn                              camelbackinn                https://www.instagram.com/stories/camelbackinn/3352039213145853236/

778 SZA feat. Travis Scott                      Love Galore                         wseattle                    https://www.instagram.com/stories/highlights/17963297422045297/

779 Tai Verdes                                  AOK (with 24kGoldn)                 jwdesertridge               https://www.instagram.com/stories/highlights/18095252935214259/

780 Tate McRae                                  greedy                              moxynashvilledowntown       https://www.instagram.com/reel/CxymBvyOkZY/

781 Tate McRae                                  greedy                              jwmarriottclearwaterbeach   https://www.instagram.com/reel/CyirK_kOuP0/

782 Tate McRae                                  greedy                              wmiamihotel                 https://www.instagram.com/reel/Cy_KgfsLEmU

783 Tate McRae                                  greedy                              wfortlauderdale             https://www.instagram.com/reel/C0RpVhQu3sA

784 Tate McRae                                  greedy                              rendallashotel              https://www.instagram.com/stories/highlights/18015877606712690/

785 Tate McRae                                  greedy (Ian Asher Remix)            fairfieldinnpennstation     https://www.instagram.com/reel/C2BZeB7OGEj/

786 Tate McRae                                  greedy (Ian Asher Remix)            aloftprovidencedowntown     https://www.instagram.com/stories/aloftprovidencedowntown/3362995442722762580/

787 Tech Panda, Kenzani, Rusha & Blizza         Dilbar                              wmiamihotel                 https://www.instagram.com/stories/wmiamihotel/3048956446672463098

788 Tems                                        Me & U                              editionnewyork              https://www.instagram.com/stories/editionnewyork/3347019382709544414/

789 Tems                                        Me & U                              editionnewyork              https://www.instagram.com/stories/editionnewyork/3347019382709544414/

790 Tems                                        Me & U                              editionnewyork              https://www.instagram.com/stories/editionnewyork/3347019382709544414/

791 Tems                                        Me & U                              editionnewyork              https://www.instagram.com/stories/editionnewyork/3347019382709544414/

792 Tems                                        Vibe Out                            rentampa                    https://www.instagram.com/stories/highlights/17917051876353997/

793 The Alan Parsons Project                    Sirius / Eye In the Sky             residenceinn.ocmd           http://www.instagram.com/p/Cghnqghskhs

794 The Beatnuts                                Se Acabo (ft. Method Man) (Remix)   stregisaspen                https://www.instagram.com/reel/Ce9Ks25Fpur/

795 The Beatnuts                                Se Acabo (ft. Method Man) (Remix)   moxynooga                   https://www.instagram.com/p/CjRAHZ7pqgM

796 The Chainsmokers                            Family                              gaylordrockies              https://www.instagram.com/stories/highlights/17906320679174372/

797 The Chainsmokers                            Roses                               marriottmarquissd           https://www.instagram.com/reel/CoxnKHKA-sW/

798 The Chainsmokers                            Roses                               themayflowerhoteldc         https://www.instagram.com/reel/CsbvPckgfDD/

799 The Chainsmokers                            Roses                               ritzcarltoncharlotte        https://www.instagram.com/stories/highlights/18125643109330630/

800 The Chainsmokers                            Roses                               westinstfr                  https://www.instagram.com/p/C4Vqtokx64d/

801 The Chainsmokers, bludnymph                 Self Destruction Mode               moxy_ac_losangeles          https://www.instagram.com/reel/C4yfctehmEv/

802 The Dave Brubeck Quartet                    Take Five                           stregisresboston            https://www.instagram.com/reel/CtxXv6pxrin/

803 The Dave Brubeck Quartet                    Take Five                           stregisresboston            https://www.instagram.com/reel/Cy4Q5yqMFHt/

804 The Intruders                               I'll Always Love My Mama            westinstfr                  https://www.instagram.com/stories/highlights/17939283689689773/

805 The Kid Laroi, Justin Bieber                STAY                                marriottriverwalk           https://www.instagram.com/reel/Cii4nk-INQb/

806 The Kid Laroi, Justin Bieber                STAY                                westindcdowntown            https://www.instagram.com/reel/CjX7CHmJiuU/

807 The Kid Laroi, Justin Bieber                STAY                                marriottmarquissd           https://www.instagram.com/reel/CjjRtA4Ayu2/

808 The Kid Laroi, Justin Bieber                STAY                                wboston                     https://www.instagram.com/reel/Cs1ILs1gJSH/

809 The Kid Laroi, Justin Bieber                STAY                                rendallashotel              https://www.instagram.com/reel/CxF92CNOnuK/

810 The Kiffness x Rushawn x Jermaine Edwards   It's a Beautiful Day (Reprise)      jwmarcoisland               http://www.instagram.com/p/CoH6NFLg2ZD

811 The Main Ingredient                         Let Me Prove My Love To You         wminneapolis                http://www.instagram.com/p/CaOYShnA8tK

812 The Manhattans                              New York City                       rentimessquare              https://www.instagram.com/stories/rentimessquare/3105352949827999882

813 The Neighbourhood                           Softcore                            wfortlauderdale             https://www.instagram.com/reel/C4ftbc1veUE

814 The Pointer Sisters                         I'm So Excited                      westindallasdowntown        https://www.instagram.com/stories/highlights/17991829789360086/

815 The Pointer Sisters                         I'm So Excited                      westinsavannah              https://www.instagram.com/stories/westinsavannah/3136034485473352434

816 The Ronettes                                Sleigh Ride                         westinirvingcc              https://www.instagram.com/reel/CXjHiqul-KS/

817 The Ronettes                                Sleigh Ride                         themarquishou               http://www.instagram.com/p/ClmlUd6g7XH

818 The Ronettes                                Sleigh Ride                         moxynooga                   https://www.instagram.com/reel/ClzLabCJ9oa/

819 The Ronettes                                Sleigh Ride                         marriottmarquissd           https://www.instagram.com/reel/CmCpqI-AZMA/

820 The Ronettes                                Sleigh Ride                         wboston                     https://www.instagram.com/reel/CmIBxQhJzul/

821 The Ronettes                                Sleigh Ride                         moxynashvilledowntown       https://www.instagram.com/reel/CmMkh0-Ohl1/

822 The Ronettes                                Sleigh Ride                         rentimessquare              http://www.instagram.com/p/CmMTTdzjG7_

823 The Ronettes                                Sleigh Ride                         magmilemarriott             http://www.instagram.com/p/CmZqm5NpmEp

824 The Ronettes                                Sleigh Ride                         themarquishou               https://www.instagram.com/reel/Czo7kFQuT-V/

825 The Ronettes                                Sleigh Ride                         gaylordtexan                https://www.instagram.com/stories/highlights/17895134651725012/

826 The Ronettes                                Sleigh Ride                         jwsanantonio                https://www.instagram.com/stories/highlights/18059943166079910/

827 The Ronettes                                Sleigh Ride                         gaylordtexan                https://www.instagram.com/stories/highlights/17895134651725012/

828 The Ronettes                                Sleigh Ride                         gaylordoprylandresort       https://www.instagram.com/stories/highlights/18023948845769324/




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     SME Artist                                  SME Track                            Social Media Account           Content URL

829 The Ronettes                                 Sleigh Ride                          themarquishou                  https://www.instagram.com/stories/highlights/17849968418405946/

830 The Ronettes                                 Sleigh Ride                          themarquishou                  https://www.instagram.com/reel/C0UMJqGuJCe/

831 The Ronettes                                 Sleigh Ride                          sheratongrandseattle           https://www.instagram.com/stories/highlights/17975142050404500/

832 The Ronettes                                 Sleigh Ride                          waikoloabeachmarriott          https://www.instagram.com/reel/C0fKrQdy-Ty/

833 The Ronettes                                 Sleigh Ride                          renworthington                 https://www.instagram.com/reel/C0mlyiXrKW5/

834 The Ronettes                                 Sleigh Ride                          sanantoniomarriott             https://www.instagram.com/reel/C0seK3sMNSW/

835 The Ronettes                                 Sleigh Ride                          themarquishou                  https://www.instagram.com/reel/C0uyxb9JX1a/

836 The Ronettes                                 Sleigh Ride                          themarquishou                  https://www.instagram.com/reel/C098J0yuTdE/

837 The Ronettes                                 Sleigh Ride                          theclancysf                    https://www.instagram.com/reel/C1KjqRWKMgF/

838 The Ronettes                                 Sleigh Ride                          stregisresboston               https://www.instagram.com/reel/C1PW1yyOxZy/

839 The Ronettes                                 Sleigh Ride                          jwmorlando                     https://www.instagram.com/reel/C1cZL_5rBYz/

840 The Ronettes                                 Sleigh Ride                          gaylordnational                http://www.instagram.com/p/C1gE2_Psl4H

841 The Ronettes                                 Sleigh Ride                          scottsdalemarriottscdowell     https://www.instagram.com/reel/C0w8-DxPBVT/

842 The Temper Trap                              Sweet Disposition                    marquis_chicago                https://www.instagram.com/reel/CjJHzJRprKz/

843 The Temper Trap                              Sweet Disposition                    sheratonmaui                   https://www.instagram.com/reel/CkMr9WHJ8Jz/

844 The Temper Trap                              Sweet Disposition                    wseattle                       https://www.instagram.com/stories/highlights/17886372713728158/

845 The Temper Trap                              Sweet Disposition                    jwdesertridge                  https://www.instagram.com/reel/C6EqfZTvsL6/

846 TLC                                          Creep                                wfortlauderdale                https://www.instagram.com/p/Cm4OtHEKmon

847 Tony Bennett                                 (I Left My Heart) in San Francisco   westinstfr                     https://www.instagram.com/p/C3T82hVr0uF/

848 Tony Bennett                                 I Left My Heart In San Francisco     westinstfr                     https://www.instagram.com/stories/highlights/18040072210219760/
                                                                                                                     https://scontent-lga3-
849 Tony Bennett                                 The Good Life                        ritzcarltonsouthbeach          2.cdninstagram.com/o1/v/t16/f1/m51/6B490518F1200FCD0862B4F1ED0EE68A_video_dashinit.mp

850 TOTO                                         Georgy Porgy                         wlosangeles                    http://www.instagram.com/p/CoYBXkLpZ-e

851 TOTO                                         Georgy Porgy                         sheratonpk                     http://www.facebook.com/SheratonPrincessKaiulani/videos/179264831494291/

852 TOTO                                         Georgy Porgy                         stregischicago                 https://www.instagram.com/reel/Creh4rNApeC/

853 T-Pain                                       Can't Believe It                     gaylordnational                https://www.instagram.com/stories/highlights/17932915078647577/

854 Travis Scott                                 HIGHEST IN THE ROOM                  residenceinnmiamiaventura      https://www.instagram.com/stories/highlights/18019923523135401/

855 Travis Scott                                 MAFIA                                jwmarriottanaheim              https://www.instagram.com/stories/jwmarriottanaheim/

856 Travis Scott                                 pick up the phone                    wseattle                       https://www.instagram.com/stories/highlights/17963297422045297/

857 Travis Scott                                 sdp interlude                        westinbellevue                 https://www.instagram.com/stories/highlights/17913977024913541/

858 Travis Scott & HVME                          Goosebumps                           wfortlauderdale                http://www.instagram.com/p/CgKYmL0gMO9

859 Tyla                                         Been Thinking                        wfortlauderdale                https://www.instagram.com/p/Ct63GDYrLEM

860 Tyla                                         On and On - A COLORS SHOW            wboston                        https://www.instagram.com/reel/C3fd74ZsxrD/

861 Tyla                                         Water                                themarquishou                  https://www.instagram.com/reel/CxtYm-eu9nq/

862 Tyla                                         Water                                waikoloabeachmarriott          https://www.instagram.com/stories/highlights/17852002654280002/

863 Tyla                                         Water                                jwmarriottchi                  https://www.instagram.com/reel/C5eERnQA_yc/

864 Tyla                                         Water                                theritzcarltonfortlauderdale   https://www.instagram.com/stories/theritzcarltonfortlauderdale/3347875753519504387/

865 Tyler Childers                               All Your'n                           moxynashvilledowntown          http://www.instagram.com/p/CkOUioVgNY5

866 Tyler, The Creator                           See You Again (ft. Kali Uchis)       wnashville                     https://www.instagram.com/reel/Cr_uNJtN6DD/

867 Tyler, the Creator                           See You Again (ft. Kali Uchis)       moxynashvilledowntown          http://www.instagram.com/reel/Cz9sp3cux1v/

868 Unghetto Mathieu                             PLASTIC                              residenceinnmiamiaventura      http://www.instagram.com/p/CivAuboK388

869 Usher                                        Caught Up                            watldowntown                   https://www.instagram.com/stories/highlights/17899941062581732/

870 Usher                                        OMG (ft. will.i.am)                  sanantoniomarriott             https://www.instagram.com/reel/C69NxoXK9ql/

871 Vanic feat. Katy Tiz                         Samurai (BKAYE Remix)                westinsavannah                 https://www.instagram.com/stories/westinsavannah/3067973171616455885
    Vishal & Shekhar;Shankar Mahadevan;Sunidhi
872 Chauhan;Vishal Dadlani                       Desi Girl                            sheratoneatontown              http://www.instagram.com/p/CiTBWmDguj3

873 WALK THE MOON                                Shut Up and Dance                    gaylordnational                https://www.instagram.com/stories/highlights/17950481780162390/

874 Wham!                                        Last Christmas                       themarquishou                  http://www.instagram.com/p/CmDKu4hJzbv

875 Wham!                                        Last Christmas                       wfortlauderdale                http://www.facebook.com/WFortLauderdale/videos/865392341477591/

876 Wham!                                        Last Christmas                       moxynashvilledowntown          http://www.instagram.com/p/Cm9i2XdILje

877 Wham!                                        Last Christmas                       waustin                        https://www.instagram.com/stories/highlights/17915929582564785/

878 Wham!                                        Wake Me Up Before You Go Go          marriottprovo                  https://www.instagram.com/reel/CktDY2XNfJ4/

879 Wham!                                        Wake Me Up Before You Go Go          swanreserve                    https://www.instagram.com/reel/C0J1qsHOIL0/

880 White Stripes                                Seven Nation Army                    wlosangeles                    http://www.instagram.com/p/Cha4-OdLyx5

881 Whitney Houston                              How Will I Know?                     slsbeverlyhills                https://www.instagram.com/reel/CzMiaNOvnxR/

882 Whitney Houston                              I Wanna Dance with Somebody          wboston                        https://www.instagram.com/stories/highlights/18080908780301146/

883 Whitney Houston                              I Wanna Dance With Somebody          gaylordnational                https://www.instagram.com/stories/highlights/17850638900619704/




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     SME Artist                  SME Track                     Social Media Account        Content URL

884 Whitney Houston              I Wanna Dance With Somebody   moxynooga                   https://www.instagram.com/reel/CnNglu5qJzR/

885 Whitney Houston              I Wanna Dance with Somebody   renplanowest                https://www.instagram.com/stories/highlights/17879480918563133/

886 Whitney Houston              I Wanna Dance with Somebody   ritzcarltonameliaisland     http://www.instagram.com/p/CopR6VagVHN

887 Whitney Houston              I Wanna Dance With Somebody   moxynooga                   https://www.instagram.com/reel/Couxzk_jERy/

888 Whitney Houston              I Wanna Dance with Somebody   newyorkmarriottmarquis      https://www.instagram.com/reel/C2-EVBoOfPO/

889 Whitney Houston              I'm Every Woman               aloftprovidencedowntown     https://www.instagram.com/stories/highlights/17955016324575624/

890 Whitney Houston              I'm Every Woman               RitzCarltonNewOrleans       https://www.instagram.com/stories/highlights/17941351274208303/

891 Whitney Houston              I'm Every Woman               stregischicago              https://www.instagram.com/stories/highlights/18007444861640811/

892 Whitney Houston              I'm Every Woman               palacehotelsf               https://www.instagram.com/reel/C5lbGE-ro9F/

893 Wild Cherry                  Play That Funky Music         westindallasdowntown        https://www.instagram.com/stories/highlights/17953659890076568/

894 Will Smith                   Miami                         wmiamihotel                 http://www.instagram.com/p/CYcazNbtk7T

895 Will Smith                   Miami                         wmiamihotel                 https://www.instagram.com/stories/wmiamihotel/3143774575423331509

896 Will Smith                   Miami                         residenceinnmiamiaventura   https://www.instagram.com/stories/highlights/17994968323061149/

897 Will Smith                   Miami                         ritzcarltonsouthbeach       https://www.instagram.com/stories/ritzcarltonsouthbeach/3288221458860141730

898 Will Smith                   Miami                         whotels                     https://instagram.com/stories/highlights/18027605584490465/

899 Wizkid                       Essence                       aloftprovidencedowntown     https://www.instagram.com/stories/highlights/18192324289151429/

900 Wizkid                       Essence                       aloftprovidencedowntown     https://www.instagram.com/stories/highlights/17906332442357518/

901 Wizkid feat. BNXN            Mood                          themarquishou               http://www.instagram.com/p/CXFEi89FhtP

902 Wizkid feat. BNXN            Mood                          marriottbonvoy              https://www.instagram.com/stories/highlights/17901221342581357/

903 Wizkid feat. BNXN            Mood                          wnashville                  https://www.instagram.com/stories/wnashville/3363476075164822198/

904 Wizkid feat. BNXN            Mood                          themarquishou               https://www.instagram.com/stories/themarquishou/

905 XO Cupid feat. Maya Avedis   True Colors                   westinstfr                  http://www.instagram.com/p/Ctu2TBKO2fW

906 Yo Gotti                     Pose                          ritzcarltonnycentralpark    http://www.instagram.com/p/Cckmp4ZjgfN

907 Yo Gotti                     Pose                          wfortlauderdale             http://www.instagram.com/p/Cc_EBtSAjn3

908 Zara Larsson                 Lush Life                     ritzcarltonnewyorknomad     https://www.instagram.com/stories/ritzcarltonnewyorknomad/3356500751026222558/

909 Zara Larsson, Billen Ted     Morning (Billen Ted Remix)    wscottsdale                 http://www.instagram.com/p/CZiRM6jobz_

910 Zayn                         There You Are                 waspenhotel                 https://www.instagram.com/stories/highlights/18081202789302098/

911 ZAYN                         Vibez                         irvinemarriott              https://www.instagram.com/reel/CnhhfJCKMsN/

912 Zayn feat Sia                Dusk Till Dawn                newyorkmarriottmarquis      https://www.instagram.com/reel/CvcoeHjPoFp/

913 Zhu                          Faded                         wboston                     https://www.instagram.com/reel/CYUOCI2hxLs/




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